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lN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF C()LORADO

In re:

‘ 'CaseNo. '14~11530~HRT

ROBERT J. INTLEKOFER,
‘ ' Chapter 7

ssN: XX-XX-ioes,

Debtor.

 

JOLI A. LOFSTEDT, Chapter 7 Trustee, '

Plaintiff,
vs.

ROBERT J. INTLEKOFER and
STEVEN DUANE CUI\{RY,

VVVWVVVVVVVVVV\_/VVVVV

Defendants.

 

0RDER GRANTING nEFAUL'r` g &T m 0R oF TRUSTEE AND
AGAn~IsT ROBERT J. iN'ILEK R AND s vEN DUANE cURRY
THIS COURT, having reviewe

  
     

Ti'ustee’s Motion for Entry of Defauit Judgment

nd Steven Duane Curry (“Curry”) filed by Joli A
’) of the bankruptcy estate of Robert J. Intiekofer, and
d cause having been shown, and being advised of the

Lofstedt, the Chapter 7 Trustee,_g
Exhibits A and B attached !.T
premises, hereby: el

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FINDS:

  
   
 
  

157(a), General Proceduxe Order No. 1984-3 and 28 U.S.C. § 157(b)(1)
er 'l`itle 11 of the United States Code.

- e claim for ordeis to turnover property of the estate is a core proceeding
Pul'$uam(f@ U...SC §157(b)(2)(E). A/or your Corf'?"\f¢, wfl¢>$¢¢

ThiBun_has¢eome-wéenj}urisdiction over turnov rac ons.
C@_Ms??'f,/_?;ov _9_ 77‘¢ O/sfr»'<‘f 0 60 ””‘{/* M”WO/PA/ C¢pvmmoy

enue s proper in this district pursuant to 28 U S. C § 1409(21) 4 gym-rcr 64 ram
A .SC€/Ve, mo A ¢,wM.& \"’_"‘J_"`

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5. Pursuant to Fed. R. Bankr P. 7004(8, this Court has personal jurisdiction over the
A1¢63~JDeb:o d curry pursuant to red a Bani<r P 7004(b)(3)

6. Tll:;z‘&btor and Curry have failed to plead or otherwise defend within the time
allowed by the Fedeial Rules of Bankruptcy Procedure or the time stated in the Suinmons and
theyareindefault .5<»¢ S, F-C . rraeer #;26?0220

dwyer mw
7. Neither the'{B;b{or nor Curry are an infant or incompeten‘and nor a:r`e they
currently in the military service of the United States or in the military service of any nation with
which the United States may be allied in the prosecution of a war or has been ordered to report
for such military service or for induction into such military service and the Debtor and Curry are
not are entitled to relief under the Soldiers’ and Sailors’ Civil Relief Act of 1940, 50 U S C.
Apx. § 521.

a I'l" IS THEREFORE ORDERED that the Motion is GRANTED. ,

The Debtor’ s bankruptcy estate owns certain real property commonly known as 4625 E.
County Road 54, Fort Colliiis, Colorado 80524 (the “Property” ) The Property is property of the
bankruptcy estate pursuant to Bank;ruptcy Code § 541(a).The Debtor and Steven Duane Curry
have previously interfered with the Trustee’ s efforts to sell the property and the Ti'ustee is
entitled to permanent injunctive relief against them.

 
  

IT IS FURTHER ORDERED the Debtor and ~ A_ _.lii‘ne Curry Trustee are ordered to

immediately mm over the Prope n Plaintiff Joli A. Lofstedt, T w ursuant to Bankruptcy

code § 542(a), gmc /M"l k y ,{,MW?“ AM/ ,W,$A / 4a Aw£,»,mb M¢~»v</>

l'l` IS FURTHER ORDERED that Robert J. Intlekofer and Steven Duane Curry be and
hereby are permanently enjoined nom interfering With Plaintiil` Joli. A. Lofstedt, Trustee’ s
efforts in obtaining possession of and marketing and selling the Property, and

C¢MM/I'ru: doum¢¢v oppref<»"}'/

l'l` IS FURTH.ER GRDERED that th= ® hall enter a default judgment in favor of

Trustee and against Robert .l. Intlekofer and Seven| l uane Curry as set forth above

Dated: November 30 ,2015

BY 'IHE CURT:

,/eW/iw

The anorable Howard R. Tallman

Bankruptcy Co udg ’
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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF COLORADO

In re:

ROBERT J. INTLEKOFER, Case No. 14-11530-HRT

 

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)

) Chapter 7
SSN: XXX- -1095, )
)
Debtor. )
)
JOLI A. LOFSTEDT, Chapter 7 Trustee, )
)
)
' )

Plaintifi`, ) Adversary Pi‘oc
)
vs. )
)
ROBERT J. INTLEKOFER and )
STEVEN DUAN]Fl CURRY, )
)
Defendants. ) (7

 

    
   
  
  
  

Trustee and Against Robert J. lntleko r an 1 Steven Duane Curry'en gori tNovember 30 2015,

Judgment is hereby entered in favoro ' tiff Joli A.L apter 7 Trustee and against
Robeit J. lntlekofer and Seven eour§g'dering them tH ater turn over property of the
estate commonly known as 4 County Roadd¢;§:€é rt Collins, Colorado 80524 (the
“Propeity”), to Plaintift` Joli '. §§ Ti'ustee and§ btci;en?ently enjoining them from
interfering With Plaintiff Jo . t, Trustee’ imm ossession of and marketing
and selling the Property \ jvv

/§?l t

= ursuant to odomle §e of Ci il Procedure 54(b) and Federal Rule
is n ‘:eas})n for delay.

%4\~ nav THE CoURT.

KENNETH S. GARDNER, CLERK

 

\>` By: s/ M. Muff
Deputy Clerk

 

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF COLORADO

ln re:

ROBERT J. INTLEKOFER, Case No. l4-l 1530-HRT

Chapter 7
SSN: XXX~XX-1095,

Debtor.

 

JOLI A. LOFSTEDT, Chapter 7 Trustee,

Plaintiii`,
vs.

ROBERT J. INTLEKOFER and
STEVEN DUANE CURRY,

\/\/V\/`~/VVVV\/V\JVVV`/Vv`/\_/

Defendants.

"7
Pursuant to and in accordance win th Order Granting De ault Judgrnent in Favor of
Trustee and Agai'nst Robert J. Intlekof~ 1 ¢ 4 S n Duane Cuny entered on November §(_)__) 2015,
Judgment is hereby entered in favor \.\ 'lainti Joli A. lofstedt, Chapter 7 Trustee and against
Robert J. Intlekofer and Seven l . tr v ordering them to immediately turn over property of the
estate commonly known as 4 . E. \ounty Road 54, Fort Collins, Coloi‘ado 80524 (the
“Property”), to Plaintiii` Joli A. ac' rustee and ordering and permanently enjoining them from
interfering with Plaintift`.loli(_.jp o t, Trustee’s efforts in obtaining possession of and marketing
and selling the Property. \5

This is a final ca 91 ‘.'. ursuant to Federal Rule of Civil Proceduie 54(b) and Federal Rule
of Baukruptcy Pro§:d e et ` ‘ because there is no just reason for delay.

 

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APPRO bia l TO FORM: BY THE COURT:
0 ‘J\I ` - l KENNETH S. GARDNER, CLERK
/¢@w~/
H§‘ = 'v ' Tallman, Judge By: s/ M. Muff

 

Deputy Clerk
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Addendum, additional lien debtors

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enjoined ln acts ofp1racy Howard R. Tallman, and Kennilh S. Gardner

721 19m st oenver colorado 80202-2503 van / area ¢@°’ / 3 " 7 ‘*"
enjoined in acts ot piracy Joli A. Lotslecll. and Joseph G. Rosamla 950
spruce street sulie#i Louasvme co. 80227 70/4 /aao ””/ /3”7 53 93

enjoined in ace or piracy menard clark 155 E. envowALK omvE.
sums 403 Fonr coille coLoRADo 80525 70/+ / aaa wv/ / 307 5 ¢"‘3

addendum attachrmnt of An lNTERNATlONAL COMMERC|AL OBLIGATION LlEN (lNDlCTMENT) has been filed
against the AMERlCAN BAFl ASSOClATlON (A.BA.), the lNTERNATlONAL BAR ASSOCIATION (|.B.A.), and
the UNlTED STATES DEPAFlTMENT OF JUSTlCE (D.O.J.), by a multitude of Llen Claimants. for violations of 15
USC t & 2. for a total monetary penalty of SlX-HUNDRED Mll_LlON ($600.000,000.) US GOLD DOLLARS EACH,
alleglng lhal, since "fraud vitiates all contrac ”, ALL commerclal oonlracts, including. but NOT limited to, ALL
unlawful sentences & lncarceratlons of political prisoners (l.e.; imprisoned l.R.S. Lien Debtors, non-

criminal ollenders), wherein, such commercial contracts were all conceived in lraud, and lacking any moral & ethical
character are ln direct conflict with Natural Law & Commercial Law, and lhus, every A.BA “oontract" since 1882.
whether verbm, or written. lncludlng, but nol limited to all Judlcial Oalh's of Olhce. falsely sworn to, and fraudulently
securltlzed. monelized, and commerciallzed, are Nul| & vold, ab lnltlo.

T`ney have been given NlNETY (90) DAYS in which to answer the ALLEGAT|ONS against them. Fai|ure to do so -
will result ln an immediate “Assel Forfellure & Seizure” ol “Accounts Payable" of TWO~HUNDRED~SEVENTY-
NlNE TR|LLlON ($279,000,000,000,000.) US GOLD DOLLARS currently held by the A.B.A. and the l.B.A. --»and
the Secured Fartles’ nghl lo take possession alter default

PROOF OF ALLEGAT|ONS:

1. The "PROOF OF ALLEGAT|ONS" lies directly at the feet of the individual Olllcers & Crew of the A.B.A., the
l.B.A.. and the D.O.J., i.e.; their Administrators, Executives, Ofllcers, Dlreclors, Employees, Agents. and
Contractors. and with their honor, willingnessl and their abilliy, to respondl protest argue, or rebut the allegations
made, hereln, polnt~by-polnt, and anlcle-by-arlicle. under an Allldavit ol Trulh, under sworn Oath, and under the
Fenally of Perjury.

2. ll ls anticipated & expected that these individual members & connectors of the A.B.A., the l.BA., and the D.O.J.,
rather than admit to their crimes against humanity, ln-wrlting, will choose to go sllenl. or simply invoke the Flflh
Amendment of the US Consiltutlon. which, again. ls NOT open to ANV A.B.A.. l.BA.. or D.O.J. member. agent
oontractor, or employee

3. Thelr acquiescence or silence, will then, under the weight of Commercia| Law & Natural Law. result in their
waiving all of their corporale, pub|lc, private, and individual rights & immunities. as per 28 USC #455, and they wlll,
also. be attesting 1) lo their acceptance & agreement to all allegations made. 2) lo accept all llnes, lees, penalties &
punishments they are deserving of, and entitled to, under Common Law, the Law of Merchanls, |nternatlonal Law.
Commercial Law, Nalural Law, and 3) to have violated their very own corporate laws & sellengineered oodillcatlons.
which are grounds for the immediate dlssolutlon of their corporate charters

LEDGERlNG AND TRUE BlLL: '
1. The ledger for this "TRUE BlLL" ls based on the Truth, the whole Truth. nothing but the Tiuth, and upon the
MONETARY FACE VALUE of TWO HUNDFlED SEVENT¥-NlNE TRlLLlON ($279.000,000.000,000.) US GOLD

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4625 E CR #64
FORT COLL|NS. CO 80524

 

 

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DOLLARS retrievable from stolen & pirated properties & assets, pursuant 12 USC #411, believed to be ot record.
and all properties & assets suspected of being hidden in privatized oft shore properties & accounts by various
individuals & members the AMERlCAN BAR ASSOC|AT|ON, and the lNTERNATlONAL BAR ASSOC|ATION.

2. These stolen & pirated “assets” and "properties" will be conirmed & verified by a Peopie’s open, complete &
independent audit of the Federal Reserve Bank, and an audit of the lntemational Monetary Fund (lMF).

3. This "TRUE BlLL" is, also, set against the MAXlMUM PUBt_lC HAZARD BGNDS/|NSURANCES held by the
ABA.‘s, and the l.B.A.'s Bonding Companies, whether "in~house,” or “independent," tor all oi these Entities,
Agents, and lndividuals, including. but NOT limited to, the individual Lien Debtors listed above.

4. As a Commercial lnstrument, this "TRUE Bll_t_" has an S.E.C. Tracer Number of #2640220, which is the
Reoeption No.# assigned by the Mesa County Coiorado Deputy Clerk & Recorder, Brandy Emow, for the filing ot the
fraudulent fictitious and fabricated Oath of Oilice signed by Colorado’s 21st Judicial District Crown Administrative
Clerks, Craig P. Henderson, and David A. Bottger, and witnessed by Sandra Casselberry. the Judicial
Administrator for Mesa County. Colorado.

5. This S.EC. Tracer Number ot #2640220 is a “commercial securities tag," and is but a single Exhibit, out of
thousands ot the prima facie evidence of the A.B.A.'s conspiracy to commit sedition. piracy, and commercial fraud.~
against the Lien Claimants, and against the American people, wherein, any such Oath “prescribed, given, taken,"
commercially securitized & monetiaed, was, and is, a “solemn mookay." and “equally a crime." according to the
Crown's very own Supreme Court ruling by US Supreme Court Chief Justice, John Marshal, in 1803.

6. This S.E.C. Tracer Number of #2640220, as related to this Commercial Obligation Lien, may be used as form of
identification for any & all “Witnesses," “Crime Victims," and/or “injured parties," when asked for identification by
any A.B.A., l.B.A, or D.O.J. contractor, or revenue/tax collector (“Pulbicanus”), (ie; l.Fi.S. Agent. H.L.S. Agent, F.B.l.
Agent. C.l.A. Agent, Sheriff, Sherili Deputy, Police Otiicer, etc.).

7. All such “Crown Contractors" are, under the terms & conditions of this lntemational Commercial Obligation
Lien/Agricultural Lien/Writ of injunction & Ftestraint/Cease & Desist Order, prohibited from engaging with, detaining,
arrestingl inmrcerating, harrassing. coercing, or intimidatingl any “Witness," “Crime Victim,” a.k.a "any Living
Being,' or citing same under any revenue~bearing statute, code, rule, ordinance. or any other “color of law"
infraction, providing the Livlng Being has NOT harmed or injured another Living Being. [Corporations CANNCT be
injuredl Only Living Beings can be injuredl] Without an “injury." there can be NO crime, and NOWHERE can these
revenue-bearing statutes adhere. and no “false presumptions ot a crime” shall be made, authorized, or enforced!

8. Any encroachments or violations, upon the terms & conditions stated above by any “Crown Oflicer,' “Crown
A'uent." or “Crown Contractor,” will result in additional 15 USC penalties being levied upon the ccrporate. personal.
and private properties & assets of these individual “Olticers.” “Agents, ” or “Contractors," while operating privately,
or in their “corporate capacities"

9. This S.E.C. Tracer Number of #2640220, however, and wherever, presented, will serve as the People's
Ftescission of Consent, and as fair, proper, and lawful notice to CEASE 81 DESlST with any & all criminal
aggressions, trespasses, and transgressions while operating on the Land, and/or under the ‘presumed & alleged’
jurisdiction, power, or authority of the Military/Admiralty Flag oi the Crown Tempiar.

SURETY & CERT|FICAT|QN:

The Sureties & Certilications oi, and tor, any & all Corporate, Pub|ic, Personal. or Private Accounts, Bonds.
Securities, Protits, Procedes, Fixtures, Chattels, and Assets owned/managed by ANV individual operating within
the jurisdiction. or control, of the A.B.A.. the l.B.A.. the D.O.J., or their. "in-house.’l Bonding Companies, under the
hdirect. or direct control of the A.B.A., or the l.B.A.. their Nation/State iranchises, lnns of the Court, The Federal
Reserve Banking System. or The lntemational Monetary Fund (lMF-') for these Entities, Agenis and lndividuals, are
all considered forfeitable assets, and as “debt obligations" to the Lien Claimants, their asstgns, and/or their helrs.

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As such, the Lbn Debtors are lawfully responsible for prcducing, upon this commercial demand. these Sureties,
Accounts. F"inanciat Statements, and ali Certiiicates of Liability & indenture

ENFORCEMENT:

1. The'Amants & Lien Claimants, without prejudice, and Fteserving All Ftights, declares this Cominercial Ob|igation
Lien to be self»effecting; self-evident and seif~enforcing, noting that the US Marshai Service, is now lawftu
restored to the Peopie's Executive Branch of the Continentai united States of America. and they are no longer
contractually obligated to the A.B.A's subsidiary corporation of the Department of JHstice,

both of which. are, hereby, dissolved for by the People for cause, and by necessity

2. The US Marshai Service, a Constitutional Law Enforcement Agency, and NO LONGER a “Legai Enfcrcement
Agency.' in the State of illinois and elsewhere throughout the 50 States, Washington, D.C., and their 94
government oilices, will be tasked & charged with executing the seizing, freezing. and recovery of ali the A.B.A's,
and the i.B.A.'s corporate, public, personal, and private properties found upon the Land. at sea. or found to be held
by any & all individuals operating under the A.B.A., or the l.B.A.. until such time, as it is determined that the full face
amount of this Commercial Obligation Lien can be satisfied and that all other Claims for Remedy made, herein, are
unconditionally satisfied in fui|. _

3. The US Marshals. having been given the preponderance of evidence, and probable causes stated, herein. that
crimes have been committed, and that, crimes are being convnitted, shall under their own authority, jurisdiction.
and powers as dejure Marshals & Sherifls, commence, lMMEDlATEi.‘/, with serving Notice of this Writ of
injunction a Restraint/Cease & Desist, without the need of a court order, or warrant, as is their privilege, duty. and
obligation unda Law.

4. On the NlNET¥-FlRST (91st) DAY after receipt of this Llen. the US Marshals & interpol, are to wmmenoe, at
once, with the freezing, forfeiture, and seizing, of all corporate, personal, public, private, and individual properties
accounts and assets known to be in the possession of, or under control of, the A.B.A., l.B.A., D.O.J., and/or any &
all of their corporate contractors however related

5. Fair compensation shall be made for the anticipated expenses & services rendered by these agents and for their
abiding by their own Oaths of Ofi”ice (htips;/lmtawmelLedgLu§MyM). The US Marshai Servioe &
interpol will receive TWENTV(ZD%) of the recovered assets and these funds will be divided equally. A Promissory
Note shall be tendered to the dejure United States Treasury, and earmarked to the US Marsha Service & interpol in
this amount. The full face amount of the Promissory Note will be made payable to the US Marshai Service & interpol
immediamly upon the successful recovery, reclamation, and retum. of the Lien Ciaimant's “Accounts Receivables."
6. Should it ever be mlscontrued, or misrepresentedl that this Promissory Note, and/or payments made to the US
Marshai Service & interpol, is some form cf bribery, the Lien Ctaimants shall argue & deny same, and declare these
funds lawful & appropriate compensation for the tasks & expenses the US Marshais & interpol are tasked &
charged with. These funds constitute stolen & pirated properties & assets of the American people, and these
cornpensations are to be considered “bounties,” “prizes," and “rewards" for honest service by the people's law
enforcement agencies & agents

As a result of the criminal fraud, breach of trust, malfeasance, and personage practiced against robert
joseph intlekofer by acting judges with no oath of otiice, illegally press-ganged into the international jurisdiction of
the sea. suffered inland piracy, and unlawful conversion. identity theft, copyright infringement and credit fraud.
Suffered false arrest armed extortion, racketeering, and eviction under the false presumptions and mis-
characterizations created by your systemic fraud, denied “essential governmental services" under Articie lV,
Section 3, Clause 2 of the original equity contract governing our relations with the Federai United States and
who claim automatic cancellation. breach of tmst with the miss-administration, malfeasance, incompetence, and
reckless dishonesty of the banks their governmental services corporations and the private corporate officers who
have been impersonating public officials in demonstrable Bad Faith.

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This is to inlomt ali that l have been adopted by a sovereign creator and as his son, lost but nw found, not
dead at sea but alive and walking and living on the eretz/iand. no longer abused, neglected. abandoned or
expioited. l have changed my political status and to correct the civil records maintained by the probate courts to end
all false presumptions and hostilities being offered against the nephesh chey/iiving soul by federal employees.
agents, subcontractors and secondary creditors-inciuding their bill coilectors, the American Bar Association md
the internal Revenue Service. i am a Priority Creditors, not the banks which are using the various governmental
services corporations as fronts toleii their sell-interest in these matters. i _

Firsl hand witness with first hand knowledge " R/L)/»»rj F/M/‘?' °F H'¢/l'// '".;' f

sTArEoi= Lo\a»a,_t ~ ,coueror-' §M'.Mé ,ss.:

On this day. personaHy apmared before me

lower ':_S. ,\»i'\‘lr\e&r_s§¢/\ »

to rrte knovm to be the person(s) described in and who executed the within and foregoing instrument and
acknowledged that helshe signed the same as his/her voluntary act and deed, for the uses and purposes therein
mentioned

 

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Mé,

thness my hand and official seal hereto affixed

thiséq¥" day of`§g,;,&b._i._/\__J éo\_~>_'/` .

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Notary Pubiicin andtmmesiare or Qa\se£\_ !~, .
Mycommission expires 931 93 tamm .

 

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MY commission wines crm/3m

 

 

 

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STATE OF COLORADG
COUNTY OF LARlMER

l do hereby certify that this is a fuii, true and correct copy of
This document as it appears of record in my office at

Book Page "'

ReceptionNo Lt‘v` 00 97137

Witness my hand and official seal this a 3 day

Of De\»rgw\\'~r€r ___a_g_\_§__

 

46 g .
Angela Myers. Larimer County Clerk and Recorder

By: C-`\/ 0 ----` Deputy Clerk

Fees; (2

 

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To the accounting of the “AMER|CAN BAFf ASSOCIAT|ON & lNTERNATlONAL BAFl ASSOC|AT|ON”
AFFlDAVlT OF OBLlGATlON
lNTERNATlONAL COMMERC|AL LlEN (This is a verified plain statement of fact)
Date: “attachment, addendum” to the original first filing on or about OCTOBER 16, 2015
Maxims:
1. All men and women know that the foundation of law and commerce exists in the telling of the truth, and nothing
but the truth,
2. Truth, as a valid statement of reality, is sovereign in commerce
3. An unrebutted affidavit stands as truth in commerce
4. An unrebutted affidavit is acted upon as the judgment in commerce
5. Guaranteed- All men shall have a remedy by the due course of law. lf a remedy does not exist, or if the remedy
has been subverted, then one may create a remedy for themselves - and endow it with credibility by expressing it in
their affidavit.
6. lgnorance of the law might be an excuse, but it is not a valid reason for the commission of a crime when the law is
easily and readily available to anyone making a reasonable effort to study the law.
7. All corporate government is based upon Commercial Aflidavits, Commercial contracts, Commercial Liens, and
Commercial Distresses. Hence, Commercial governments cannot exercise the power to expunge commercial
processes
8. The Legitimate Politica| Power of a corporate entity is absolutely dependent upon its possession of commercial
Bonds against Pub|ic Hazard.
9. No Bond means no responsibility, means no power of Official signature means no real corporate political power
and means no privilege to operate statutes as the corporate vehicle
10. The Corporate Legal Power is secondary to Commercial Guarantors. Case law is not a responsible substitute
for a Bond. `
11. Municipal corporations, which include cities, counties, states and national govemments, have no commercial
reality without bonding of the entity, its vehicle (statutes), and its effects (the execution of its rulings).
12. fn commerce it is a felony for the Oflicer/Public Oflice to not receive and report a Claim to its Bonding Company
- and it is a felony for the agent of a Bonding Company to not pay the Claim.
13. lf a bonding Company does not get a malfeasant public official prosecuted for criminal malpractice within (60)
days, then it must pay the full face value of a defaulted Lien process at (90) days.
14. Except for a Jury, it is also a fatal offense for any person, even an acting Judge, to impair or to expunge, without
a Counter-Aflidavit, any Aflidavit or any commercial process based upon an Aflidavit.
15. Judicial non-jury commercial judgments and orders originate from a limited liability entity called a municipal
corporation - hence must be reinforced by a Commercial Affidavit, and a Commercial Liability Bond
16. A foreclosure by a summary judgment (non-jury) without a commercial bond is a violation of commercial law.
17. Govemments cannot make unbounded rulings or statutes which control commerce free-enterprise citizens or
sole proprietorships without suspending commerce by a general declaration of martial law.
18. lt is tax fraud to use Courts to controversy which could be settled peacefully, outside of or without the Court.
19. An official (of&cer of the court, policeman, etc.) must demonstrate that he/she is individually bonded in order to
use a summary process.
20. An official who impairs, debauches, voids or abridges an obligation of contract, or the effect of a commercial lien
without proper cause, becomes a lien debtor - and his/her property becomes forfeited as the pledge to secure the
lien. Pound breach (breach of impoundment) and rescue is a felony.
21 . lt is against the law for an acting Judge to summarily remove, dismiss, dissolve or diminish a Commercial Lien.
Only the Lien Claimant or a Jury can dissolve a Commercial Lien.
22. Notice to agent is notice to principal; notice to principal is notice to agent
23. PUBL|C HAZAFfD BOND|NG OF CORPORATE AGENT: All officials are required by Federal, State and
Municipal Law to provide the name, address and telephone number of their public hazard and malpractice bonding
company, the policy number of the bond and if required, a copy of the policy describing coverage of their specific
job performance

Failure to provide this information constitutes corporate and limited liability insurance fraud (15 USC) and is
prim-a-facie evidence and grounds to impose a lien upon the official, personally, to secure their public oath and
service of office
24. This international Commercial Obligation Lien is, in part, supported & prefaced on UCC-9/102 (agricultural
liens) UCC 9/607-610 ( secured party’s Right to take possession after default), with ALL RlGHTS RESERVED.

 

 

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Parties: Lien Claimants:

1. Steven, Duane Curry; (as a witness, a Crime victim, an injured, individual, living being, l-'fepresenting All
(listed/unlisted/unknown/Multipie) Crime Victims, injured Parties, individuals in the Territory known as Colorado,
America, and elsewhere on all Tribal Lands).
21250 Dave Wood Road

Montrose, Coiorado [81403]
(970)249-8879

email: cwheiieg@gmaii.com

2. Anna Maria Riezinger

c/o Box 520994 Rural Route 99652
Big Lake, Alaska

3. James Ciinton Be|cher

c/o Box 520994 Rurai Route 99652
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4. Sandra Lee Tyler

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(970) 249-8879

5. James A. Porter

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c/o North Caroiina,

c/o 217 Paragon Parkway, #103, Ciyde
near [28721]

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jacobiam543@gmail.com

7. Rocky-Lee:Hutson

5251/2 321/8 Road

Clifton, Colorado [81520-9998]
970) 589-2336

8. gary-dean: darby

C/o General Post-Oflice

Private mailbox 1290

Board shanty Rd

Grants Pass, Oregon Nation

Near [97527-9998]

Non domestic

541 -862-2074

9. Stephen Michael Keno

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1 1. Marcia Ann Coffe|t

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Chicago, illinois 60610

Phone: 312-988-5000

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THE iNTEFfNATlONAL BAR ASSOC|ATiON; A CORPORAT|ON, ET AL
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United States Department of Justice

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individual Executives, Officers, Directors, Board of Governors,
Commission on Govemance, Committee Members, as of October 6,
2015, inciuding, but NOT limited to;

DEPARTMENT OF JUST|CE:

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A.B.A.: Paulette Brown, Esquire; President, 2015-2016

Patricia Lee Refo, Esquire; Chair, House of Deiegates, 2014-2016
Lina A. Klein, Esquire; President Elect, 2015-2016

Mary T. Torres, Esquire; Secretary, 2014-2015

G. Nichoias Casey, Jr., Esquire; Treasurer, 2014-2017

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Kenneth \Mdeika, Esquire; Chief Financiai Officer

10Carl Cooper Esquire; Member of President’s Counsel on Diversity
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Stephen N. Zack, Esquire; Boies, Schilier & Flexner LLP

Timothy W. Bouch, Esquire; American Bar Association

Wiiliam C. Hubbard, Esquire; American Bar Association

Dennis B. Drapkin, Esquire; American Bar Association

Susan P. Serota, Esquire J.D.: Piilsbury Withrop Shaw Pittman LLP
Commission on Govemance:

CO-CHA|R: Roberta D. Liebenberg, Phiiadeiphia, PA; CO-CHA|R:
James Dimos, indianapolis; lN MEMBERS: Wiiliam Fl Bay, Saint

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Louis, MO; Micheile A. Behnke Madison, Wi; Deborah Enix-Ross,

New York, NY; Eilen J Fiannery, Washington, DC; James S Hiil,

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Coiumbia, SC; Beverly J Quaii, Denver, CO; Carios A Rodriguez-

Vidal, San Juan, PR; Neal R Sonnett, Miami, FL; Palmer Gene

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Brady; Rocheile E. Evans;

l.B.A: Mark Eilis, Esquire; Executive Director

Taiia Dove; Executive Assistant

Eiaine Owen; Head of BlC/Assistant to President

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Donna Canty; Human Resources Director

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Giynn Davies; Head of Finance

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RiCHARD CLARK 155 E. Bl`-iOADWALK DFilVE, SUiTE 403 FORT COLL|NS COLOFfADO 80525
HOWARD Ft. TALLMAN UNiTED STATES BANKRUPTCY COURT FELON|OUSLY ACT|NG JUDGE
JOLi A LOFSTEDT ESQU|RE BAR REG. NO # 21946 FELONiOUSLY ACT|NG TRUSTEE FOR CASE
NUMBER 14-11530 HRT

JOSEPH G. ROSAN|A ESQUiRE BAR REG. NO #12499 950 SPRUCE ST. SUiTE 1 LOUlSEViLLE CO. 80227
KENNlTH S. GARDNER, CLERK 1961 STOUT STREET STE. 12-200 DENVER COLORADO 80294

validated with evidence intact of felonious activities
(Ailegations:) my ciaim, my evidence in fact

1. The AMERiCAN BAR ASSOC|ATiON, the lNTERNATlONAL BAFi ASSOC|ATiON, and the
DEPARTMENT OF JUST|CE, are commercial derivations & subsidiaries of the Crown Templar, or Temple Crown,
whose Corporate Headquarters is located in the City of London, Engiand. is this correct? ¥es? or No?

2. in 2007, Wiiliam C. Hubbard, Esquire, received the American inns of Court Professionaiism Award for
the Fourth Circuit. in 2015, he was called to the bench as an Honorary Bencher of the Middle Temple in London. is
this correct? Yes? or No?

3. The A.B.A. was founded on August 21, 1878, in Saratoga Springs, New York, by 100 lawyers from 21
states. The l.B.A. established in 1947, now has over 55,000 individuals and the 195 bar associations and law
societies, and its organization continues to grow. is this correct? ¥es? or No?

4. The first President of the AMER|CAN BAR ASSOC|ATiON was it’s inceptor, creator, and impiementor,
James O. Broadhead. Representatives of 34 national bar associations gathered in New York, NY on the 17th of
February 1947 to create the l.B.A.. Was this NOT an act of “Piracy on Land,” pursuant 18 USC #1651-1661? (my
claim is yes)

5. initial membership was limited to bar associations and law societies, but in 1970, l.B.A. membership
was opened to individual iawyers. Members of the legal profession including attorneys, soiicitors, barristers,
advocates, members of the judiciary, in-house iawyers, government lawyers, academics and law students comprise
the membership of the l.B.A. . is this historical notation correct? (my claim is yes)

6. James O. Broadhead violated the Original and Organic X ill Amendment of the constitution of the pre
1871 Continentai uNited States of America, when, in 1878, he was chosen presidenth the American Bar
Association, which meet at Saratoga, N.Y. in 1882, he was elected as the State's representative to the 48th
Congress as a Democrat, and in 1885 was appointed by the government as special agent to make preliminary
search of the record of the French archives in the matter of the French spoliation claims, making his report in
October, 1885. He was U.S. minister to Switzerland, 1893-'97. Do you agree James O. Broadhead committed
treason against the Continentai United States government in forming the A.B.A., and becoming its first President?
Ves? or No?

7. James O. Broadhead’s election & appointment were direct abrogations and usurpations of the 1803
Supreme Court ruling over Marbury v. Madison, wherein, John Marshai rendered a majority decision restricting
Barristers & Esquires, and other holders of Tities of Nobiiity, from holding government, or public offices, and
declared that, “prescribing, giving, or taking such Oaths of Office” to these offices was “a solemn mockery” against

 

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the US Constitution, against its peopie, and was “equally a crime.” if this is a correct assessment of the foundation
& legacy of James O. Broadhead, it stands, then, that the entire concepf, structural design, and the implementation;
ie “Eiectoral Coilege,” “ Lifetime Judicial Appointments‘ “Copyrighted, Ffevenuebearing Statutes, Codes, Ruies,
Ordinances,” etc., created by the A.B.A. are fraudulent, malicious, egregious, and corrupt to the A.B.A.’s core
Ves? or No?

8. Mr. Broadhead’s coalition of 100 foreign agents (“attorneys”), who, in-concert, coilusion, and conspiracy,
created, with the encouragement, support, and aid & abetting of the Federal Reserve Debt Banking System, the
AMERlCAN BAR ASSOC|ATiON, in their efforts to “federalize,” “democratize,” “incorporatize," “defraud,” and to
silently overthrow the original & genuine Constitutional government of the united States, and to subvert, usurp, and
to destroy the Uniienabe & Naturai Flights of the People & Tribal families, who resided & inhabited the
Land, established by our Nation’s Founding Fathers. Would you agree with this assessment? Yes? or No?

9. is it NOT True, then, that, “fraud vitiates all contracts,“ and that, all commercial contracts, including, but
NOT limited to, ALL unlawful sentences & incarcerations of political prisoners (ie; imprisoned l.R.S. Lien Debtors,
non-criminal offenders), wherein, such commercial contracts were all conceived in fraud, and lacking any moral &
ethical character, are in direct conflict with Naturai Law & Commercial Law, and thus, every A.B.A “contract” since
1882, whether verbai, or written, inciuding, but not limited to all Judicial Oath’s of Office, falsely sworn to, and
fraudulently securitized, monetized, and commercialized, are Nuii & Void, your latin term ab initio? ¥es? or No?

10. the country’s so called “Founding Fathers” established our Original & Organic Constitution under the
“Land Jurisdiction," and NOT the “Jurisdiction of the Sea,” or “Hoiy SEE,” with various “embargos" against acts of
piracy, press-ganging, personage, slavery, barratry, and other notorious & potentially injurious foreign intrusions,
including the Tities of Nobiiity Act, the Xlll Amendment, Biiis of Attainder, and other notable acts and codifications of
law that were to insure the health, safety, and welfare of the govemment, the land, and the People.
is this historically correct? Yes? or No?

1 1. if your answer to Question #10 is “Yes,” then under what law form, or forms, was the A.B.A., the l.B.A.,
and their minions, able to subvert & usurp the “Land Jurisdiction” with the mere “presumption" of the “Jurisdiction
of the Sea?” A. “Admiraity Law?” B. “Maritime Law?” C. “intemational Law?” D. “Commercial Law?” E. “Unifonn
Commercial Code?" “Roman Curia Law?”

12. The Nationai Lawyer’s Guild was established in 1937, and, according to historic record, has its origins
in the Communist Party. The A.B.A. was in protest of its establishment due to a belief that the N.L.G. was a “militant
segment of the bar.” in comparison to the criminal, unethicai, and immoral conduct & activities of the members &
individuals of the A.B.A., the members & individuals of the N.L.G., even if they are referred to as Communists, could
be almost called “Saints,” as the N.L.G. genuinely & honestly works for the peopie, and NOT for the corporations,
as the A.B.A. does. is this an accurate description & comparison of the A.B.A., and the N.L.G.? Yes? or No?

13. During the McCarthy era, the N.L.G. was accused by Attomey General Herbert Brownell Jr. as well as
the House Un-American Activities Committee of being a Communist front organization. Federal Bureau of
investigation director J. Edgar Hoover repeatedly tried to get a successive Attomey General to declare the N.L.G. a
"subversive organization," but without success. if the A.B.A. was so opposed to the N.L.G., as alleged, why did the
A.B.A.’s own Attorneys General, block the FBl’s, Browneii’s, the House Un-American Activities Committee, from
prosecuting the N.L.G., when the A.B.A. claims the N.L.G. is, quite simpiy, “a militant segment of the bar (A.B.A.)?"
Was this protest by members & individuals of the A.B.A. simply a ruse, or a Red F|ag operation, to cloak the true
intent & nature of the A.B.A., and banking elitist they represent? Piease be specific in your answersl

14. The 1944 HUAC history asserted that the N.L.G. was merely "a streamlined edition of the lntemational
Juridicai Organization," a Communist Party mass organization established in 1931. is the A.B.A., and the l.B.A., not
also, Corporate members/associates of the iNTERNAT|ONAL JUFfiDlCAL ORGAN|ZAT|ON? Yes? or No?

15. it is a well documented fact, that the AB.A., and the l.B.A. are, quite simpiy, “political organizations”
with distinct corporate connections to all nations, and State BAFi Associations, inns of the Courts, and to Districts &
Middle inns of the courts, and to Districts and Middle inns made up of adjoining State BAR Associations, and that,
in order to “serve at the bench,” all judges, from a municipal “judge,” to the “Justices" of the US Supreme Court,
according to the Federal Civil Procedures Act, MUST be members of the BAFi. Does this “interstate districting,”
and the “judicial mandating” for the seating of “judges,” “justices,” and “magistrates,” NOT violate every
Nation’s/State's General Laws & Rights, abridge individual voter & election rights, abrogate both State & Federal
Constitutions, and completely nullifies the A.B.A.’s, and the i.B.A.'s very own “Articies of lncorporation,” “Policies &
Procedures,” “Bylaws,” and their own “Professionaf Rules of Conduct?” Yes? or No?

16. Both the A.B.A., and i.BA., market their wares & practices as “voluntary,” yet, in actual practice &
execution, A.B.A. , and l.B.A. by all lawful and “iegal” definitions, practice, what can only be defined as a
“MONOPOLY” over the entire lntemational & United States Justice Systems, and the A.B.A. dominates the

 

 

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genuine two branches of Continentai government of the united States. Are the requirements set forth in the
F.C.P.A., then, prima facie evidence of this criminal “MONOPOLIZ|NG” of the Justice System, and does it
NOT, in fact, encourage & promote the destabiization of the world’s govemments, through military occupation,
political |obbying, social & economic manipulation, and inciting civil protest & unrest? Ves? or No?

17. Despite the fact, that, MONOPOLIES, and other antitrust Fi.l.C.O. activities, are both unlawful &
"illegal” on the Land, the A.B.A., and the l.B.A., knowingly & willingly operate in Ultra Vires, and with total disregard
& distain of human rights guaranteed by the Universal Declaration of Human Rights, and the numerous safeguards
built into the State & Federal Constitutions. These safeguards are built into any number of the Maxims of Law, and
the Constitutionaiiy-derived laws, including 15 USC 1 & 2, which state very clearly & unambiguously, the penalties
for operating in such a manner;

15 U.S. Code § 1 - Trusts, etc., in restraint of trade illegai; penalty;

“Every contract, combination in the form of trust or othenivise, or conspiracy, in restraint of trade or commerce
among the several States, or with foreign nations, is declared to be illegal. Every person who shall make any
contractor engage in any combination or conspiracy hereby declared to be illegal shall be deemed guilty of a
felony, and, on conviction thereof, shall be punished by fine not exceeding $100,000,000 if a corporation, or, if any
other person, $1,000,000, or by imprisonment not exceeding 10 years, or by both said punishments, in the
discretion of the (this) court."

15 U.S. Code § 2 - Monopo|izing trade a felony; penalty, which states;

“Every person who shall monopolize, or attempt to monopolize, or combine or conspire with any other person or
persons, to monopolize any part of the trade or commerce among the several States, or with foreign nations, shall
be deemed guilty of a felony, and, on conviction thereof, shall be punished by fine not exceeding $100,000,000 if a
corporation, or, if any other person, $1,000,000, or by imprisonment not exceeding 10 years, or by both said
punishments, in the discretion of the (this) court."

18. Used in concert & conjunction with this Commercial Obiigation Lien, 15 USC 1 & 2, and the invocation
of our “Crime Victim's Fiights” as defined & described under 18 USC #3771, the A.B.A., l.B.A., and the D.O.J., by
the preponderance of well documented evidence, and by the sheer weight of notable & probable causes, already
posted in, both, the private & public records, the individual members of the A.B.A., the l.B.A., and the D.O.J., acting
in their “corporate capacities,” are found to be “guilty” on both counts, and are “guilty” of all crimes described under
the “Piracy Codes" of 18 USC #1651-1661, and under 42 USC #14141-Cause of Action.

Would you NOT agree? Yes? or No?

19. Given the incredible weight & preponderance of the evidence even the private courts owned &
administered by the A.B.A., the l.B.A., and the D.O.J., MUST find themselves "guilty-as-charged,” and MUST,
therefore under their own statutory iaws, convict themselves, less they be totally void of Human Honor &
Character.

20. This “written confession,” of course, is not likely to happen, yet, under 28 U.S. Code 455(a,b,c,d,e,f),
which, in effect, dissolves the Judiciary, a.k.a. “A.B.A.,” a.k.a. “l.B.A.,” a.k.a. “D.O.J.,” of all their jurisdiction, power,
and authority, to hear, or adjudicate over such a clear case of fraud, unless of course, the “corporate body," itseif,
and all actors, justices, judges, magistrate judges, bankruptcy judges, spouses or minor children, as the case may
be, “divests himself or herself of the interest that provides the grounds for the disqualification.”

21. For obvious reasons, as previously stated, the A.B.A.’s, the l.B.A.’s, and D.O.J.’s, private
courts CANNOT begin to presume to have subject-matter, personai, or territorial jurisdiction, power, or
authority, over matters dealing with any Living Being, wherein, this Commercial Obligation Lien can
only be dismissed by the Lien Claimant, or a properly convened & seated common law jury,
independent of the Crown Templar courts. To the detriment of the A.B.A., the l.B.A., its OfEcers & Crew, and
their entire membership, U.S. Code 28 19#455 is exceedingly clear, and unambiguous in its mandates, and the
common law jury, as drawn & specified in the Commercial Lien processes, belongs to the Peopie, and NOT to any
corruptible corporate body politic.

22. in brief, U.S. Code 28 #455 requires & demands that all individual members of the A.B.A., the l.B.A.,
and D.O.J., “divest” themselves of any & ali “financial interests" in any govemment, including their financial ties to
the only True branches of the Continentai united State's govemment, their for-profit jail & prison systems, and that,
they release all military prisoners, corporate captives, and political hostages, currently being held by force, threat,
intimidation, biackmai|, extortion, or by any other unlawful means. This includes the immediate release of all
government law enforcement oliciais, employees, clerks, and stafl.

23. The A.B.A. has 410,000 members, and the l.B.A. has 55,000 members, with each individual member
acting & operating in their own “corporate capacities,” (P.C.’s, L.L.C.’s, etc.) and each member is, by corporate
association, in violation of 15 USC 1 & 2, for a total monetary penalty of SiX HUNDRED MlLLlON

 

 

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US GOLD DOLLARS ($600,000,000.), EACH, including Tort Claims of 3X’s, and TEN (10) YEARS imprisonment,
per individual, corporate-body, per offense (lobbied, legislated, and executed revenue-bearing statutes, codes,
rules, ordinances, and every color of law crafted & copyrighted by the individual members

of the A.BA., the l.B.A.), per each crime victim (315 Million +).

24. Obviously, there is not enough gold in the world to cover these "Accounts Payable,” or the People’s
“Accounts Fieceivables,” so the A.B.A,, and the l.B.A., along with all of their corporate affiliations MUST, by the
sheer weight of the debt owed, be dissolved, their corporate personal, and private assets forfeited, seized,
recovered, and returned to the People they have injured. lts membership, then, MUST work off the un-recovered
debts, either through imprisonment, or hard labor, which, as "Public-anuses," none of A.B.A.’s, or the i.B.A.'s
members are accustomed to.

25. The A.B.A.’s national headquarters are in Chicago, lllinois; it also maintains a significant branch omce in
Washington, D.C. . The l.B.A.‘s Corporate Offices are located in the City/State of London, Engiand. These physical
public & private properties & assets are to be returned to the People, from whom, the capital funds used to build
these centers of profit & houses of unjust enrichments, were pirated & stolen. Turning these physical, brick &
mortar, assets into centers of knowledge, as in libraries & monuments for the People, would be the Lien Claimant’s
recommendation

26. The A.B.A., by its own admissions & postings, "provides law school accreditation, continuing legal
education, information about the law, programs to assist lawyers and judges in their work, and initiatives to improve
the legal system for the public. The Mission of the American Bar Association is to be the national representative
serving the (MONOPOLY) of the legal profession, serving the public by promoting justice, and the professional
excellence and respect for the law." ls this true? Yes? or No?

27. The genuine Tmth of the matter, is that, the A.B.A., the l.B.A., the D.O.J., nor any of their individual
officers, or members, have any genuine “respect for the law,” as evident in the following Oath of Office requirement,
pursuant 28 USC #453, taken by thousands of their “Administrative Clerks" posing as “judges”;

“l, ________J do solemnly swear (or aflirm) that l will administer justice without respect to persons, and do equal
right to the poor and to the rich, and that l will faithfully and impartially discharge and perform all the duties
incumbent upon me as _____ under the Constitution and laws of the United States. So help me God.”

28. This Oath does NOT say, “under the legal system, or corporate body politic.” NOR does it
say, “the United States of America, lnc.,” as semantically devised, created, lobbied, legislated, or executed, by the
individual members of the A.B.A., or the l.B.A.. And, yet, to swear, under Oath, and under the Penalty of Perjury,
“So help me God,” is, by all detinitions, “Perjury,” wherein, the A.B.A.’s & l.B.A.’s practices & conduct in “denying
God,” is clearly evident in every A.B.A. courtroom in America, and in every, single, revenue-bearing, statute, code,
rule, ordinance, and every, single, color of law enacted in both the Pub|ic & Private Record.

29. lt stands to reason, then, and as a point of accepted & universal Truth, that each & every Oath
prescribed, given, taken, liled, recorded, monetized, and securitized, and placed into commerce, by every justice
and judge, is a false & fabricated statement, and a written confession to sedition & treason, taken/given in an
“open court of law,” is a willing & premeditated act of Treason, and commercial traud, against the Continentai
united States of America, against its Constitutions, and against its residents & inhabitants, pursuant Article lll,
Section #3 of the Constitution, and ignorance of the law shall be NO excuse, and it is not a valid reason for the
commission of a crime when the law is easily and readily available to anyone making a reasonable effort to study
the law. Would you agree that these Oaths are acts of Sedition & Treason, and that, the judgments handed down at
the Nuremberg Tria|s were correct? Yes? Or No?

30. The “legal definition” of the term “Public,” according to Black's Law Dictionary (Eighth Edition),
reads; “1. Ftelating or belonging to an entire community, state, or nation [Cases: Municipal Corporations 88 1557-
1559.] 2. Open or available to all to use, share, or enjoy. 3. (Of a company) having shares that are available on the
open market. [Corporations]. Do you agree with this “legal definition?" Yes? or No?

31. The “legal definition” of the term “publican,” has its origins in the Latin term, “publicanus,” which comes
from “Hist. Roman Law, and means, “ A tax collector. A publicanus was described as “a farmer of the public
revenue,” although the publicanus reaped only the money from that sown by the labor of others."

Would you agree with this Black’s Law Dictionary definition? Yes? or No?

32. The definition of the term LEGAL. “the undoing of God’s Law.” 1893 Dictionary of Arts and Sciences,
Encyclopedia Britannica; a dictionary of arts, sciences and general literature/ The Fi. S. Peale 9th 1893. God’s Law
is also known as “Natural Law,” and Naturai Law is the foundation for “Commercial Law,” wherein, “the Truth
bounds all contracts,“ Does the A.BA., the l.B.A., or the D.O.J., then, promote & support the “undoing of God’s
Law"? Yes? or No?

33. Following this definition, what does the A.B.A., the l.B.A., or the D.O.J., actually produce in real benefits

 

 

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for the people, other than non-productive self-serving, job programs for its own members, and its affiliated
corporations, such as the l.R.S., J.P. Morgan Chase, Wells Fargo Bank, Citicorp, and its privately-controlled &
administrated for-proit jail & prison systems? Piease be specific in your answers!

34. According to the Northern Trust Corporation documents obtained from the Federal Securities &
Exchange Commission, the Bar, a.k.a. “The A.B.A.” is the very same corporation as the internal Revenue Service,
and that, the A.B.A. owns Wells Fargo Bank, J.P. Morgan Chase, Citicorp, and a host of Fortune 500 companies
Are these documents correct? Yes? or No?

35. lf your answer to #34 is “Yes," does this NOT present an incredin serious “Confiict of lnterest” for
the A.B.A., the l.B.A., and the D.O.J., pursuant to their very own corporate laws prohibiting such misconduct,
fraud, and misrepresentation, when the l.Fi.S. issues fraudulent mortgage foreclosure liens against living inhabitants
of the Land, and the A.B.A.’s membership which includes Attorney Generals, District Attorneys prosecuting
attorneys and/or defense attorneys, represents the l.R.S. in these kangaroo court cases, and where the
Administrative Clerks, a.k.a. “acting judges" adjudicating over such matters are, also, members of the A.B.A.?
Yes? or No?

36. lf the answer to #35 is “No,” please present the law, or even the “legal statute,” which gives any
A.B.A.l the D.O.J., or any usurp, l.B.A. member subvert, the privilege obstruct & commerce, right or to criminally
deprive, the Unlienable & Naturai Fiights of any living individual of land ownership on the land. You have an
obligation to be very specific in your answer.

37. The A.B.A., and the l.B.A., as “political organizations,” are two of the most powerful lobbying
organizations within the City/State of Washington, D.C., Brussels, The Hague, the Vatican, and in each of the 50
states, wherein, the A.B.A., and the l.B.A., and their subsidiary corporations, have an unprecedented “tinancial
interest” in all national & state govemments, when they create, present, draft, construct, and instruct, elected &
appointed government officials & agents of these Nation/States, including the Federal & State govemments, on how
best to execute revenue-bearing statutes, codes, rules, ordinances, and a broad mix of "colors of law," from which
the A.B.A., the l.B.A., its members, or their affiliate corporate shell franchises, are awarded lucrative government
contracts involving the execution & enforcement of their copyrighted & legislated statutes, codes rules, etc..
ls this an accurate assessment of the A.B.A.’s, and l.B.A.’s “financial interests," their lobbying power & efforts used
by its individual & corporate members? Yes? or No?

38. Once, again, with such broad legislative & executive powers to enforce these revenue-bearing statutes,
codes, rules, and ordinances, does this NOT abrogate those very limited Constitutional powers delegated to the
Judiciary by the united States, and the people, and do they NOT violate the A.B.A.’s , and l.B.A.‘s very own
Corporate Charters, their Policies, Procedures, By|aws, and Professional Codes of Conduct? Yes? or No?

39. As the “Principals (lndividuals)" behind the A.B.A.’s, and l.B.A.’s “financial interests," lobbying,
legislating, and the execution of ordinances, these and revenue-bearing with all Federal & statutes, codes
State Enforcement Law and officials now being under the control of the A.B.A., a.k.a. “DEPARTMENT OF
JUST|CE,” or the i.B.A.'s “lNTERPOL,” does this NOT make these Law Enforcers culpable, responsible
as “Accessories after the fact,” and “parties to the null & void contracts,“ and does this NOT directly
implicate the agents, employees, and contractors, as criminal co-conspirators of the A.B.A.’s, and l.B.A.’s
Corporations? ¥es? or No?

40. lf you answered “Yes" to Question #39, are you testing, then, that the A.BA., and the l.B.A., have a
“financial interest” in all elected, selected, and appointed Law Enforcement officials, and that, these individuals
have, in- concert, and under a myriad of “coiors of law." and for the “financial benefit" of the A.B.A.’s, of the
l.B.A.’s corporate bodies, “voluntari|y” committed voter & election fraud under the presumptions &
misrepresentations that the People have been dooped & hoodwinked into believing they have any type of say over
who they may elect, select, or appoint? Yes? or No?

41. Such reckless behaviors & “presumptions,” then, can be easily construed by any competent, and
properly convened & seated common law jury of the peop|e, as forms of racketeering, hijacking, and the piracy of
the peoples election systems, along with the piracy & seizure of the People’s lands & labors, and the destruction of
there un-|ienab|e & Naturai rights for the mere benefit & pleasure of the BAR & banking elite. Would this be a correct
assessment & assertion? Yes? or No?

42. Given the heavy “contractua| & commercial nature” of your debt money system, your high-priced
lobbying, your “legalized,” and copyrighted legislations, and the excessive use of force in executing your statutes,
codes, rules, ordinances, and other colors of law, by those ‘alleged|y’ elected, selected, and appointed Law
Enforcement agents, duelly sworn under Oath to protect & serve the State & Federal Constitutions, does this
NOT present a very serious and Tortious “Conflict of lnterest,” and a major “misrepresentation” by the
individual/corporate members of the A.B.A., the l.B.A., and their “contractors?” Yes? or No?

 

 

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43. Would you NOT agree, that these criminal acts, are equally violative of the “Supreme Laws of Land,”
and the A.B.A.’s, and the l.B.A.’s, very own Corporate Charters, along with violating each & every filing & registry of
your corporate subsidiary’s “Articles of lncorporation" on public record in each nation, and in the 50 states of
America? Yes? or No?

44. Given the Maxim of Law, which states, “NOT|CE TO PRINC|PAL lS NCT|CE TO AGENT, AND
NCTlCE TO AGENT lS NOT|CE TO PR|NC|PAL,” does it NOT follow, then, the terms & conditions drawn in the
Commercial Obligation Lien processes, that, any & all of A.B.A.’s, and l.B.A.’s executives, officers, directors,
employees, agents, and their contractors, ie; Government Law Enforcement Agents, are violating the terms &
conditions set forth under law, and they are all, presently, operating in commercial dishonor & defauft? Yes? or No?

45. This means, then, any all A.B.A. l.B.A.,and D.O.J. executives, officers, directors, employees, agents, &
contractors, are “lawfully” & “legally" prohibited from approaching, engaging, or contacting, any & all witnesses,
crime victims, and who are Living residents, and inhabitants on the Land, Territories, or Colonial Districts, until the
terms & conditions of this Commercial Obligation Lien (Agriculture Lien), pursuant 15 USC, are satisfied in full.
Would you NOT agree? Yes? or No?

46. fnasmuch; This Commercial Lien, a.k.a. “Agricu|tural Lien,” is, also, to be received & considered a
Writ of injunction & Restraint against the A.B.A., the l.B.A., and the D.O.J., along with a formal & official “order by
the People to CEASE & DESlST” with including, all but violations NOT limited & crimes against humanity,
including, but not limited to, ending the lobbying, infiuencing, scripting, construction, drafting, legislating, or
executing, of any & all revenue-bearing statutes, codes, rules, ordinances, or any other “color of law” enactments
in any house of the people’s lawfully constituted government(s). Do you agree that these demands & claims for
remedy are warranted, lawful, and just? Ves? or No?

47. lf your answer, or response, to Questions #45 & #46, is “No,” please reconsider 18 USC, #3771,
wherein, every Living resident, and inhabitant of the Land, has been, and is, either, a “Witness,” or a “Crime
Victim” of the A.B.A., the l.B.A., and the D.O.J., and as such, they are entitled to protection by their dejure &
defacto US Marshai/united States Marshai Services, the Civilian Provost Marshal, the dejure Military, and their own
County Sheriffs, wherein, these officers are held to their dejure contracts in commerce, and they are under their own
Oaths of Office to protect “Witnesses,” and “Crime Victims," and to serve, both, State & Federal Constitutions,
with all revenue-bearing statutes, codes, rules, ordinances, and other colors of law, NOTW|THSTAND|NG. Are
these NOT the obligations & duties of the US Marshals/ united States Marshal's & County Sheriffs defined &
described under your very own statutes, codes, etc.? Ves? Or No?

48. Having invoked 18 USC #3771, which is, clearly, a lawful & righteous derivative of the Continentai
united States Constitution’s prohibitions & constraints, all “witnesses,” and “crime victims” are guaranteed due
process under the Law of Nations, remedy & recourse for their injuries, particularfy, after these guarantees &
protections have been intentionally & willfully obstructed , subverted, misrepresented, and/or totally denied
by those charged & tasked with providing these guarantees & protections Woufd you NOT agree? Yes? or No?

49. There are THlRTY (30) Articles in the Universal Declaration of Human Rights.
Of these Articles, which Article, or Articles, does the A.B.A., the l.B.A., or the D.O.J., support, and which Artic|e, or
Articles, does the A.B.A., the l.B.A., or the D.O.J., reject? You have an obligation to be “speciffc” in your answers.

50. The entities, Agents, and lndividuals, that are listed above as Lien Debtors, by their own admissions,
records, actions, inactions, omissions, malfeasance, misconduct, or pure negligence, prove, well beyond any
reasonable doubt, that they are, at the very least, “guilty” of criminally violating Title 15 USC 1& 2, a host of Title
18 USC violations, including, but not limited to; Title 18 USC violations, including, but not limited to Title
18 USC 241, 242, Title 22 USC Registrations, Title 26 USC, Title 28 USC, and numerous violations of trust &
breach of contract under Title 42 USC 1983. ls this NOT a correct assessment?

51. With the Lien Claimants having invoked these laws, derivative codifications, protections and immunity's,
and to include "His Holiness Pope Francis has issued a Motu proprio on criminal law matters. Apostolic
Letter of Pope Francis! Strips Away High official immunity September 1st 2013!” every law and code
“MUST", in a point-by-point , article-by-article, be protested, argued, or rebutted, in an Aflidavit of the truth, and
taken under oath, that “your" protests, arguments, and rebuttals are the truth, the whole truth, and nothing but the
truth, under the penalty of perjury, lf you are willing and capable of doing so, you are being given NlNETY (90)
DAYS in which to do so? Do you understand Yes? or No?

52. Again, under the terms & conditions set forth in Commercial & Naturai Law, the above mentioned Lien
Debtors have NlNETY (90) DAYS in which to respond, protest, or rebut, this Commercial Obligation Lien &
Afhdavit, and to return same via USPS Certified/Registered Mail. Failure to do so, will result in an immediate “Asset

 

 

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Forfeiture & Seizure” of the "Accounts Payable” of TWO HUNDRED SEVENTY NlNE TR|LLION
($279,000,000,000,000) US GOLD DOLLARS, held by the A.B.A., and the l.B.A., pursuant U.S. Codes UCC-9/102
(Agricultural Liens), and UCC 9/607-610 (Secured Party’s Right to take possession after default). Do you
understand these terms & conditions? Yes? or No?

53. A perfected & cured Lien also commands the recovery of the "Accounts Receivable," pursuant to 12
USC #41 1 mandates & guidelines, for the Affiant and Lien Claimants, who, by the endowed proxy of this Claim for
Ftemedy, a.k.a. “Commercial Obligation Lien,” and their Affidavit, will, under Oath, act in the capacity of
Administrator, Beneficiary, and Grantor, in the assignment of a qualified “Authorized Agent” for the
“redistribution” of the “Accounts Ffecelvables" all laundered, pirated, and stolen assets, monies & properties,
and to restore same to all injured parties, individuals, and “crime victims” of the A.B.A., the l.B.A., and the D.O.J.,
their Ponzi Franchise Corporations, and their subcontractors

PFfOOF OF ALLEGAT|ONS:

1. The “PROCF OF ALLEGAT|ONS” lies directly at the feet of the individual Officers & Crew of the A.B.A.,
the l.B.A., and the D.O.J., ie; their Administrators, Executives, Officers, Directors, Employees, Agents, and
Contractors, and with their honor, willingness, and their ability, to respond, protest, argue, or rebut the allegations
made, herein, point-by-point, and article-by-article, under an AfEdavit of Truth, under sworn Oath, and under the
Penalty of Perjury.

2. lt is anticipated & expected, that these individual members & contractors of the A.B.A., the l.B.A., and the
D.O.J., rather than admit to their crimes against humanity, in-writing, will choose to go silent, or simply invoke the
Fifth Amendment of the US Constitution, which, again, is NOT open to ANY A.B.A., l.B.A., or D.O.J. member,
agent, employee, or contractor.

3. Their acquiescence or silence, then, will, “shall”, under the weight of Commercial Law & Naturai Law,
result in their/your waiving all of their/your corporate public, private, and individual rights & immunities, as per 28
USC #455, and they will, also, be attesting to their acceptance & agreement to all allegations made, to accept all
fines, fees, penalties & punishments they are deserving of, and entitled to, under Common Law, the Law of
Merchants, lntemational Law, Commercial Law, Naturai Law, and to have violated their very own corporate laws &
self- engineered codifications, which are grounds for the immediate dissolution of their/your corporate charters Are
these terms & conditions clear to you? ¥es? or No?

LEDGERlNG AND TFfUE BlLL:
1. The ledger for this “TRUE BlLL” is based on the Truth, the whole Truth, nothing but the Truth, and upon the
MONETARY FACE VALUE of TWO HUNDRED SEVENTY NlNE TFilLLlON ($279,000,000,000,000.) US GOLD
DOLLARS retrievable from stolen & pirated properties & assets, pursuant 12 USC #411, believed to be of record,
and all properties & assets suspected of being hidden in privatized off shore properties & accounts by various
individuals & members the AMER|CAN BAR ASSOC|ATiON, and the lNTERNATlONAL BAR ASSOC|ATlONl
2. These stolen & pirated “assets” and “properties” will be confirmed & verified by a People’s complete &
independent audit of the Federal Reserve Bank, and an audit of the lntemational Monetary Fund (IMF).
3. This “TRUE BlLL” is, also, set against the MAXIMUM PUBLlC HAZARD BONDS/lNSURANCES held by the
A.B.A.‘s, and the l.B.A.’s Bonding Companies, whether “in-house,” or “independent,” for all of these Entities,
Agents, and individuals, including, but NOT limited to, the Lien Debtors listed above.
4. As a Commercial |nstrument, this “TRUE BlLL” has an S.E.C. Tracer Number of #2640220, which
is the Reception No.# assigned by the Mesa County Colorado Deputy Clerk & Recorder, Brandy Emow, for the
filing of the fraudulent, fictitious, and fabricated Oath of Office signed by Colorado’s 21st Judicial District Crown
Administrative Clerks, Craig P. Henderson, and David A. Bottger, and witnessed by Sandra Casselberry, the
Judicial Administrator for Mesa County, Colorado.
5. This “S.E.C. Tracer Number of #2640220” is a “commercial securities tag,” and is but a single Exhibit of
the prima facie evidence of the A.B.A,‘s conspiracy to commit sedition, piracy, and commercial fraud, against the
Lien Claimants, and against the people wherein, any such Oath “prescribed, given, taken,” commercially
securitized & monetized, was, and is, a “so|emn mockery," and “equally a crime,” according to the Crown's very
own Supreme Court ruling by US Supreme Court Chief Justice, John Marshail in 1803.
6. This “S.E.C. Tracer Number of #2640220”, as related to this Commercial Ob|igation Lien, may be used as a
form of identincation for any & afl “Witnesses,” “Crime Victims," and/or “injured parties,” when asked for
identification by any A.B.A., l.B.A., or D.O.J. contractor, or revenue/tax collector (“Pu|bicanus), (ie; Sherifl, Sheriff
Deputy, Police Officer, FB| agent, HLS agent, etc.).
7. All such “Crown Contractors” are, under the terms & conditions of this lntemational Commercial Obligation

 

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Lien /Agricultural Lien/Writ of injunction & Restraint/Cease and Desist order, prohibited from engaging with
detaining, arresting, incarcerating, harassing, coercing, or intimidating, "any witness” “crime victim” a.k.a. “any
living being" or citing same under any revenue-bearing statute code rule ordinance or any other “color of law”
infraction, providing the Living Being has NOT harmed or injured another Living Being. [Corporations CANNOT be
injured!] Without an “injury" there can be no crime. And NOWHERE can these statutes adhere and no “faise
presumptions of a crime” shall be made authorized, or enforced!

8. Any encroachments, or violations, upon the terms & conditions stated above by any “Crown Officer,” “Crown
Agent,” or “Crown Contractor,” will result in additional 15 USC penalties levied upon the corporate personal,
and private properties & assets of these individual “Ofiicers,” “Agents,” or “Contractors," while operating privately,
or in their “corporate capacities.”

9. This S.E.C. Tracer Number of #2640220, however, and wherever, presented, will serve as the People’s
Fiescission of Consent, and as fair, proper, and lawful notice to any & all criminal aggressions, “CEASE &
DES|ST” with “trespasses", and “transgressions", while operating on the Land, and/or under the “presumed &
alieged” authority of the Military/Admiralty Flag of the Crown Templar.

SURETY & CERT|F|CAT|ON:
The Sureties & Certifications of, and for, any & all Corporate Public, Personal, or Private Accounts, Bonds,
Securities, Profits, Procedes, Fixtures, Chattels, and Assets owned/managed by ANY individual operating within
the control of the A.B.A., the l.B.A., the D.O.J., or their, “in-house,” Bonding Companies, and under the indirect, or
direct control of the A.B.A., or the l.B.A., their NatiorvState franchisee inns of the Court, The Federal Reserve
Banking System, or The international Monetary Fund (lMF) for these Entities, Agents and individuais, are ali
considered as “debt obligations" to the Lien Claimants, their assigns, or their heirs. As such, the Lien Debtors are
lawfully responsible for producing these Sureties, and all Certificates of Liability & indenture

ENFORCEMENT:
1. The “Affiants & Lien Ciaimants", without prejudice and Reserving All Fiights, declares this Commercial
Obiigation Lien to be self-effecting, self-evident, and seif-enforcing, noting that the US Marshai/united States
Marshail Service, is now lawfully restored to the People’s Executive Branch of the Continentai united States of
America, and they are no longer contractually obligated to the A.B.A.’s subsidiary corporation of the Department of
Justice both of which, are hereby, dissolved by the People for cause
2. The US Marshai/united States Marshai Service, a Constitutional Law Enforcement Agency, and NO LONGER a
“Legai Enforcement Agency," in the State of lllinois, and elsewhere throughout the 50 States, and their 94
government offices, will be tasked & charged with executing the seizing, freezing, and recovery of ali the A.B.A.’s,
and the i.BA.'s corporate public, personal, and private properties, found upon the Land, or found to be held by any
& all individuals operating under the A.B.A., or the l.B.A., until such time as the full face amount of this Commercial
Obiigation Lien is satisfied, and that all other Ciaims for Fiemedy made herein, are unconditionally satisfied in full.
3. The US Marshals/united States Marshais, having been given the preponderance of evidence and probable
causes stated, herein, that crimes have been committed, and that, crimes are being committed, “ felony in
progress" and shall under their own authority, jurisdiction, and powers, as Sheriffs, commence lMMEDiATELY,
with serving “Notice of this Writ of injunction & restraint/Cease & Desist", without the need of a court order,
or warrant, as is their privilege duty, and obligation, under Law.
4. On the NlNETY-FleT (91st) DAY after receipt of this or the original Lien date the US Marshal's united States
Marshal's & interpol, are to commence with the freezing, forfeiture and seizing, of ali corporate personal, public,
private and individual properties, accounts, and assets, known to be in the possession, or control, of the A.B.A.,
l.B.A., D.O.J., and/or any of their contractors.
5. Fair compensation shall be made for these anticipated expenses & services rendered, and for their abiding by
their own Oaths of Office (httsz/www.law.cornell.edu/uscode/text/28/563).

The US Marshai/united States Marshal's Service & interpol will receive TWENTY(20%) of the recovered
assets, and will divided equally. A Promissory Note shall be tendered to the dejure United States Treasury, and
earmarked to the US Marshai Service & interpol in this amount. The full face amount of the Promissory Note will be
made payable to the US Marshai Service & interpol immediately upon the successful recovery, reclamation, and
return, of the Lien Claimant’s “Accounts Receivables.”

6. Should it ever be misconstrued, or misrepresented, that this Promissory Note, and payment to the US
Marshai/united States Marshal's Service & interpol, is some form of bribery, the Lien Claimants shall argue & deny
appropriate same and compensation declare for the these tasks & expenses the US Marsha|s & interpol are
tasked & charged with. These funds constitute stolen & pirated properties lawful & assets of the people and those
compensations are to be considered “bounties,” “prizes,” and “rewards” for honest service by the peopie’s law

 

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enforcement agencies & agents.

LlEN CLAiMANT'S CERT|F|CAT|ON/OATH & AFFiFtMATiON:

l ,a living, breathing, being, a Naturai inhabitant of the Land, and who ls of
the age of the majority, and NOT a chiid, and who has NOT been found lost at sea, non decedent, never lawfully
abandoned by my creator, or left on the battlefiefd, am competent' m commerce to certify on my own unlimited
commercial liability, that l have read the above Aflidavit of Obiigation, and do know the contents to be true correct,
complete and not misleading of the truth, the whole truth and nothing but the truth, and do believe that the above
committed contrary to the Supreme Laws described acts have been ci § ` ned, described, herein.

   

ll

':House & Famliy of

date: LZ / 2 3 / /,§
As First & Second Witnesses to the content of this Aflidavit, and to the Living Character & red-inked, blood
signature of Affiant,and Lien Claimant, l attest to both as being true in material fact, and both were done without
malice contempt, the intent to defraud, or to evade the truth, the whole truth, and nothing but the truth.

iii Cf< F,w¢/Ly aP///rx/f///

Witness/Beneiciary/

 

date:_/_&_/ ¢l?/*_/__§‘_':_~,i

Witness/Beneiiciary

  

Date: 10/15/2015 CERTlFlCATE OF SEFtVlCE

BE iT KNOWN TO ALL MEN, the Afiiant shall post this Commercial Obligation Lien to the
Public Ffecord with a filing to the united State’s Secretary of State and Colorado’s Secretary of State
and make every attempt of service to the Principais, via USPS Certified Maii noting that NOT|CE TO FORE|GN
AGENT lS NOT|CE FOREiGN PR|NC|PAL, NOT|CE TO FOFtEIGN PR|NClPAL lS NOT|CE TO FOREIGN
AGENT(S). lN AS MUCH, the Afiiant is NOT responsible for the qualification of service to each & every Lien
Debtor. as FORE|GN AGENTS MUST NOTiFY FORE|GN PFilNCiPALS, AND FOFiE|GN PFiINClPALS MUST
NOTiFY FOFiEiGN AGENTS. THlS iNCLUDES THE A.B.A.‘S, AND THE l.BA.'S BONDlNG AGENTS &
ENTiTlES CHARGED WlTH THE BOND|NG & lNSURiNG OF SURETlES OF THE|R CLlENTS.

USPS CERTlFlED MAlL REG|STRY NO.#'S:

original sent to to united States secretary of state 2401 E. Street, N.W.

Washington, D.C. 20037 Offices on the 12th and 13th Floors

original sent to Colorado Department of State 1700 Broadway, Suite 200
Denver, CO 80290 303-894-2200,

7014 1820 0001 1307 6416 enjoined in acts of piracy Howard R. Tallman, and Kennith S. Gardner
721 19"‘ st. Denver Coiorado 80202-2508

7014 1820 0001 1307 6393 enjoined in acts of piracy Joli A. Lofstedt, and Joseph G. Rosamia 950
Spruce Street, suite #1 Louisville Co. 80227

7014 1820 0001 1307 6423 enjoined in acts of piracy Richard Clark 155 E. BROADWALK DFiiVE.
SUiTE 403 FORT COLL|NS COLORADO 80525

/_5' 070 /5

 

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“robert joseph intlekofer affidavit of truth”

“Hear yee hear yee, l am returning your original paperwork, spurious dock u ments that has become
evidence in fact of piracy in your fraud and swindle and shall release this commercial lien upon your affidavit of truth
per commercial lien rules,

to all that have ears to hear and eyes to see in this lawful action of what is going to happen on day 7,"

l the nephesh chey, (living man) present as “my affidavit of truth” and claims as my evidence in fact

witness (state) the following, your terms “give notice of this criminal complaint”, claim of action l as the nephesh
chey (living soul) that reigns over all dead CORPORATE fictions, commercial liens shall take these "actions
quickly” evidenced in fact that piracy and multiple felony's are in progress. lt is my counterclaim that until i receive
affidavits from all alleged plaintiffs, that have now become “defendants” Joli A. Lofstedt, Joseph G. Rosania,
Richard Clark to the judgments and actions of the superior court of The Continentai united States of America
dated the 17‘h day of September.

1. it is my claim that the name that was/is on your paperwork for your legal actions needs to be validated before l
can proceed, who exactly is the responsible party/principal for that name as it is my claim that l am not the
responsible party/principle title holder to that NAME, nor do l own equitable title, or quit possession of
that NAME, that you have placed on your piracy dock u ments, your terms that have become evidence in
fact of the piracy claims that follow, legal NAME = legal entity = corporation = artificial person = legal person, and “i
am” a nephesh chey, and l object and rebut your presumption that l am a “debtor”, or enjoined with any odious debt
in your system, and until l get your affidavit of truth, being very specific in your answers, it is my claim that you have
already violated the fair debt collections act in multiple ways, and in titled robert joseph intlekofer to commercial
liens at this time.

“The FDCPA broadly prohibits a debt collector from using ‘any false deceptive or misleading
representation or means in connection with the collection of any debt.' 15 U.S.C. § 1692e.” Dunlap v. Credit
Pmtection Ass'n, LP., 419 F.3d 1011, 1012 (9th Cir. 2005). The statute enumerates several examples of such
practices, 15 U.S.C. § 1692e, as well as several examples of unfair practices, 15 U.S.C. § 1692f. The FDCPA also
provides, for example that debt collectors may not harass or annoy debtors, may not threaten debtors with arrest,
and may not threaten legal action unless litigation actually is being contemplated. See 15 U.S.C. §1692d.
Additionally, in their first communication with the consumer, debt collectors are required “to notify debtors about
their ability to challenge the validity of a debt and to provide other basic information..” Foti v. NCO Financial
Systems, lnc., 424 F.Supp.2d 643, 653 (S.D.N.Y. 2006) (citing 15 U.S.C. §16929). This includes informing the
debtor of his or her right to ask the collection agency to “validate” the debt,and l am informing you that your alleged
statements of debt is an unconscionable contract that you can and shall validate before you can legally proceed, is
this correct, yes? Or no?. if no, your actions have become evidence in fact of piracy?

a. it is my claim that until you answer this affidavit of truth with your affidavit of truth you Joli A.
Lofstedt, Joseph G. Rosania, have forfeited your legal authority to act as the trustee on these alleged
debt matters and as stated below in this affidavit of truth, your answer of silence is acquiescence of my
claims of intentional piracy in a fraud and swindle until you provide how you are in titled to benefit l shall accept this
as your alleged legal position, but only upon your affidavit of who you are and by what power and authority you have
to benefits in my private aflairs, ( 11 American Jurisprudence §329, Constitutiona| law Page 1134:
“Moreover the principles that embody the essence of constitutional liberty and security forbid all
invasions, on the part of the government and its employees, of the sanctity of a man’s home and the
privacies of his |ife.”(Boyd v. U. S., 116 U.S. 616, 630 , 6 S. Sup. Ct. 524 )
as your CRS. Chapter 24 Colorado Code of Judicial Ethics defines "Fiduciary" includes relationships such as
executor, administrator, trustee or guardian. See Ruies 2.1 1, 3.2, and 3.8.,
your rules lack the term “beneficiary” so it is my creators intent to make sure you do not benefit from
your past actions.

2. it is my claim that if your system has presumed, alleged authority over persons validate specifically and exactly
how l the nephesh chey , (living man) have become a “person” without the crime of “thief by conversion", deception,
frauds and swindies, and acts of piracy taking place is this correct and applies to the intent of your actions
yes or no?

3. it is my claim that you and all named and involved would need to provide a valid oath of office with a valid bond,
per the constitution of 1789, to “counterciaim my creators claim" of your actions of piracy and rules on piracy apply
to this, and your previous actions. is this correct and applies to the intent of your actions yes or no?

 

 

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4. if or when you validate the debt, validate the legal title holder to the name and validate by your affidavit it is my
claim that l am in titled to the popes decree of the year of jubilee, Pope Francis Presents “Buil of lndiction" of
“Jubilee of Mercy" (Vatican Fiadio) Pope Francis on Saturday afternoon (April 11th) proceeded with the
presentation of the official Buii of indiction of the Extraordinary Jubilee of Mercy, set to begin December 8.

5. it is my claim that the bankruptcy Court has created evidence in fact of “abuse of public office” in multiple
ways, by accepting payments of bribery, illegal and unlawful benefits that you are not in titled too. My evidence in
fact of piracy, a felony in progress, is this correct and applies to the intent of your actions yes or no?

6. it is my claim that evidenced in fact as a nephesh chey (living man) that i am "special and private” and the ones

named in this action “seeking benefits that you/they are not in titled too, brainwashing for illegal purposes" have

all violated canon rules AFiTlCLE XX|X ETHlCS lN GOVERNMENT canons 1-4 and this has become evidence in

fact of the commander and chief of these canon laws pope Francis taking away your diplomatic immunity, “His

Holiness Pope Francis has issued a Motu proprio on criminal law matters. Apostolic Letter of Pope

Francis! Strips Away High Official immunity September 1st 2013!" so your past actions leave you no options

as career criminals to objector rebut point by point in this lawful action or suffer the consequence of this action of a

commercial lien.

The Pope can abolish any law in the United States (Elements of Ecclesiastical Law Voi. 1, 53~54)

Why does the Pope have the power to abolish any US law he wants? According to this 1893 Vatican
issued book?

Elements of Ecclesiastical Law. Voi. l (ninth edition, 1893)

Pages 53-54. Piease read for yourseif: http://www.archive.org/stream/elementsof... is this correct and

applies to the intent of your actions yes or no?

Code of Conduct for United States Judges
The Code of Conduct for United States Judges includes the ethical canons that apply to federal judges and provides

guidance on their performance of official duties and engagement in a variety of outside activities

introduction

Canon 1: A Judge Should Uphold the integrity and independence of the Judiciary

Canon 2: A Judge Should Avoid impropriety and the Appearance of impropriety in All Activities

Canon 3: A Judge Should Perform the Duties of the Office Fairly, impartially and Di|igently

Canon 4: A Judge May Engage in Extrajudicial Activities That are Consistent With the Obiigations of Judicial Office
Canon 5: A Judge Should Flefrain From Poiitical Activity

Compiiance with the Code of Conduct

7. it is my claim evidenced in fact that if you presume to be my legal trustee in this fraud and swindle that you have
breached the contract, breached the trust and have automatically forfeited your position to act as the trustee over
these matters, or if you need me to state “You are Fired" l Do you understand and is this correct, yes? or no? .

15 U.S. Code § 1 - Trusts, etc., in restraint of trade illegal; penalty; which
states;“ Every contract, combination in the form of trust or otherwise or conspiracy, in restraint of trade or
commerce among the several States, or with foreign nations, is declared to be illegal. Every person who shall make
any contract or engage in any combination or conspiracy hereby declared to be illegal shall be deemed guilty of a
felony, and, on conviction thereof, shall be punished by fine not exceeding $100,000,000 if a corporation, or, if any
other person, $1,000,000, or by imprisonment not exceeding 10 years, or by both said punishments, in the
discretion of the (this) court." is this correct and applies to the intent of your actions yes or no?

15 U.S. Code § 2 - Monopo|izing trade a feiony; penalty, which states; “ Every person who shall
monopolize or attempt to monopolize or combine or conspire with any other person or persons, to monopolize any
part of the trade or commerce among the several States, or with foreign nations, shall be deemed guilty of a felony,
and, on conviction thereof, shall be punished by Ene not exceeding $100,000,000 if a corporation, or, if any other
person, $1,000,000, or by imprisonment not exceeding 10 years, or by both said punishments, in the discretion of
the (this) court." is this correct and applies to the intent of your actions, yes or no?

 

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Definition of Felon per Bouvier's law dictionary 1856 edition

FELON, crimes. One convicted and sentenced for a felony. 2. A felon is infamous, and cannot fill any office
or become a witness in any case unless pardoned, except in cases of absolute necessity, for his own
preservation, and defence; as, for example an affidavit in relation to the irregularity of a judgment in a
cause in which he is a party. FELCNY, crimes.

An offence which occasions a total forfeiture of. either lands or goods, or both, at common law,
to which capital or other punishment may be super-added, according to the degree of guiit. 4 B|. Com,
94, 5; 1 Ffuss. Cr. *42; 1 Chit. Pract. 14; Co. Litt . 391; 1 Hawk. P. C. c. 37; 5 Wheat. Ft. 153, 159. is this correct
and applies to the intent of your actions, yes or no?

The Sherman Antitrust Act (Sherman Act,[f] 26 Stat. 209, 15 U.S.C. §§ 1-7) is a landmark federal statute
in the history of United States antitrust law (or "competition law") passed by Congress in 1890. lt prohibits certain
business activities that federal government regulators deem to be anti-competitive, and requires the federal
government to investigate and pursue trusts. it has since more broadly, been used to oppose the combination of
entities that could potentially harm competition, such as monopolies or carteis.

Colo. Const. Art. XXiX, Section 6 (2012); Section 6. Penalty, which states; “Any public officer, member of
the general assembiy, local government official or government employee who breaches the public trust for private
gain and any person or entity inducing such breach shall be liable to the state or local jurisdiction for double the
amount of the financial equivalent of any benefits obtained by such actions. The manner of recovery and
additional penalties may be provided by law. Gifts from Lobbyists. A professional iobbyists (ie; CTS|, COLORADO
BAR ASSOC|ATiON) may not give gifts or things of value to government officials or employees at all, in any
amount." independent Ethics Commission Position Statement 09-01

USC 18 §241; CONSP|RACY AGAiNST RlGHTS, which states; “lf two or more persons conspire to
injure oppress, threaten, or intimidate any person in any State in the free exercise or enjoyment of any right they
shall be fined under this title or imprisoned not more than ten years, or both,” is this correct and applies to the
intent of your actions, yes or no?

USC 18 §242; DEPFt|VATiON OF RiGHTS UNDEFl COLOR OF LAW, which states; "Whoever, under
color of any law, statute ordinance regulation, or custom, willfuin subjects any person in any State the deprivation
of any rights shall be fined under this title or imprisoned not more than one year, or both;” is this correct and
applies to the intent of your actions, yes or no?

18 USC § 1025 - Faise pretenses on high seas and other waters; "Whoever, upon any waters or
vessel within the special maritime and territorial jurisdiction of the United States (“the People’s Land”), by any fraud,
or false pretense obtains from any person anything of value or procures the execution and delivery of any
instrument of writing or conveyance of real or personal property, or the signature of any person, as maker, endorser,
or guarantor, to or upon any bond, bill, receipt, promissory note draft, or check, or any other evidence of
indebtedness, or fraudulently sells, barters, or disposes of any bond, bill, receipt, promissory note draft, or check,
or other evidence of indebtedness, for value knowing the same to be worthless, or knowing the signature of the
maker, endorser, or guarantor thereof to have been obtained by any false pretenses, shall be fined under this title or
imprisoned not more than five years, or both; but if the amount, value or the face value of anything so obtained does
not exceed $1,000, he shall be fined under this title or imprisoned not more than one year, or both;” is this correct
and applies to the intent of your actions, yes or no?

18 USC § 912 - Officer or employee of the United States:

“Whoever falsely assumes or pretends to be an officer or employee acting under the authority of the United States
or any department, agency or officer thereof, and acts as such, or in such pretended character demands or obtains
any money, paper, document, or thing of value shall be fined under this title or imprisoned not more than three
years, or both;” is this correct and applies to the intent of your actions, yes or no?

Title #28, which refers to the “FORE|GN CORPORATE STATE," a.k.a. “B.A.R.”, a.k.a.

“BRlTiSH ACCREDlTATlON REG|STRY ? AND/OR SON,” and, also, identihes All Federal, State County, and
Municipal judges & magistrates, and mandates a “required membership of the B.A.R. of the location in which an
individual is to serve as a magistrate judge;” is this correct and applies to the intent of your actions, yes or
no?

 

 

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18 U.S. Code § 1651 - Piracy under law of nations
“Whoever, on the high seas, commits the crime of piracy as defined by the law of nations, and is afterwards brought
into or found in the United States, shall be imprisoned for life.” is this correct and applies to the intent of your
actions, yes or no?

18 U.S. Code § 1652 - Citizens as pirates“Whoever, being a citizen of the United States, commits any
murder or robbery, or any act of hostility against the United States, or against any citizen thereof, on the high seas,
under color of any commission from any foreign prince or state or on pretense of authority from any person, is a
pirate and shall be imprisoned for life.” is this correct and applies to the intent of your actions, yes or no?

18 U.S. Code § 1653 - Aliens as pirates
“Whoever, being a citizen or subject of any foreign state is found and taken on the sea making war upon the United
States, or cruising against the vessels and property thereof, or of the citizens of the same contrary to the provisions
of any treaty existing between the United States and the state of which the offender is a citizen or subject, when by
such treaty such acts are declared to be piracy, is a pirate and shall be imprisoned for life.” is this correct and
applies to the intent of your actions, yes or no?

18 U.S. Code § 1654 - Arming or serving on privateers
"Whoever, being a citizen of the United States, without the limits thereof, fits out and arms, or attempts to fit out and
arm or is concerned in fumishing, fitting out, or arming any private vessel of war or privateer, with intent that such
vessel shall be employed to cruise or commit hostilities upon the citizens of the United States or their properly; or
Whoever takes the command of or enters on board of any such vessel with such intent; or Whoever purchases any
interest in any such vessel with a view to share in the profits thereof--Shall be fined under this title or
imprisoned not more than ten years, or both." is this correct and applies to the intent of your actions, yes or
no?

18 U.S. Code § 1656 - Conversion or surrender of vessel
“Whoever, being a captain or other officer or mariner of a vessel upon the high seas or on any other waters within
the admiralty and maritime jurisdiction of the United States, piratically or feloniously runs away with such vessel, or
with any goods or merchandise thereof, to the value of $50 or over; or Whoever yields up such vessel voluntarily to
any pirate-Shall be fined under this title or imprisoned not more than ten years, or both." is this correct and
applies to the intent of your actions, yes or no?

18 U.S. Code § 1657 - Corruption of seamen and confederating with pirates
“Whoever attempts to corrupt any commander, master, officer, or mariner to yield up or to run away with any vessel,
or any goods, wares, or merchandise or to turn pirate or to go over to or confederate with pirates, or in any wise to
trade with any pirate knowing him to be such; or Whoever furnishes such pirate with any ammunition, stores, or
provisions of any kind; or Whoever fits out any vessel knowingly and, with a design to trade with, supply, or
correspond with any pirate or robber upon the seas; or Whoever consuits, combines, confederates, orcorresponds
with any pirate or robber upon the seas, knowing him to be guilty of any piracy or robbery; or Whoever, being a
seaman, confines the master of any vessei- Shall be fined under this title or imprisoned not more than three years,
or both." is this correct and applies to the intent of your actions, yes or no?

18 U.S. Code § 1658 - Piunder of distressed vessel
“(a) Whoever piunders, steals, or destroys any money, goods, merchandise or other effects from or belonging to
any vessel in distress, or wrecked, lost, stranded, or cast away, upon the sea, or upon any reef, shoal, bank, or
rocks of the sea, or in any other place within the admiralty and maritime jurisdiction of the United States, shall be
fined under this title or imprisoned not more than ten years, or both.

(b) Whoever willfully obstructs the escape of any person endeavoring to save his life from such vessel, or the wreck
thereof; or Whoever holds out or shows any false light, or extinguishes any true light, with intent to bring any vessel
sailing upon the sw into danger ordistress or shipwreck-Shall be imprisoned not less than ten years and may be
imprisoned for life.” is this correct and applies to the intent of your actions, yes or no?

18 U.S. Code § 1659 - Attack to piunder vessel
“Whoever, upon the high seas or other waters within the admiralty and maritime jurisdiction of the United States, by
surprise or open force maliciously attacks or sets upon any vessel belonging to another, with an intent unlawfully to
piunder the same or to despoil any owner thereof of any moneys, goods, or merchandise laden on board thereof,
shall be fined under this title or imprisoned not more than ten years, or both." is this correct and applies to the
intent of your actions, yes or no?

18 U.S. Code § 1660 - Receipt of pirate property
“Whoever, without lawful authority, receives or takes into custody any vessel, goods, or other property, feloniously
taken by any robber or pirate against the laws of the United States, knowing the same to have been feloniously
taken, shall be imprisoned not more than ten years." is this correct and applies to the intent of your actions,

 

 

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yes or no?

18 U.S. Code § 1661 - Robbery ashore
“Whoever, being engaged in any piratical cruise or enterprise or being of the crew of any piratical vessel, lands
from such vessel and commits robbery on shore is a pirate and shall be imprisoned for life.” is this correct and
applies to the intent of your actions, yes or no?

18 USC § 1016; 18 USC § 1018; 42 USC § 3795a; Colo. Const. Art. Xll, Section 8;
Co|o. Const. Art. XXiX, Section 2; C.R.S. #30-10~111. is this correct and applies to the intent of your
actions, yes or no?

42 USC § 14141 - Cause of action;
“Unlawful conduct; lt shall be unlawful for any governmental authority, or any agent thereof, or any person acting on
behalf of a governmental authority, to engage in a pattern or practice of conduct by law enforcement officers or by
officials or employees of any governmental agency with responsibility for the administration of juvenile justice or the
incarceration of juveniles that deprives persons of rights, privileges, or immunities secured or protected by the
Constitution or laws of the United States;” is this correct and applies to the intent of your actions, yes or
no?

AFlTiCLE lll, SECT. 8 3; TREASCN

Coio. Const. Art. XXiX, Section 2 (2012); Section 2. Definitions; As used in this article unless the context
otherwise requires: (1) "Government empioyee" means any employee including independent contractors of the
state executive branch, the state legislative branch, a state agency, a public institution of higher education, or any
local govemment, except a member of the general assembly or a public officer. >>> ............
(2) (6) "Public officer" means any elected officer, including all statewide elected officehoiders, the head of any
departmenth the executive branch, and elected and appointed members of state boards and commissions "Public
officer" does not include a member of the general assembiy, (or) a member of the judiciary!” is this correct and
applies to the intent of your actions, yes or no?

[1B-Zg-5] Title 42 U.S.C. Section 1994: The holding of any person to service or labor under the
system known as peonage is abolished and forever prohibited in any Territory or State of the United States;and all
acts, laws, resolutions orders, regulations or usages of any Territory or State which have
heretofore established, maintained, or enforced, or by virtue of which any attempt shall hereafter be made to
establish, maintain, or enforce directly or indirectly, the voluntary or involuntary service or labor of any persons as
peons, in liquidation of any debtor obligation, or othenivise, are declared null and void. is this correct and
applies to the intent of your actions, yes or no?

[1 B-2g-6] Title 18 U.S.C. Section 1581: Peonage; obstructing enforcement (a) Whoever holds or returns
any person to a condition of peonage or arrests any person with the intent of placing him in or returning him to a
condition of peonage shall be fined under this title or imprisoned not more than 20 years, or both. if death results
from the violation of this section, or if the violation includes kidnapping or an attempt to kidnap, aggravated sexual
abuse or the attempt to commit aggravated sexual abuse or an attempt to kill, the defendant shall be fined under
this title or imprisoned for any term of years or life or both. (b) Whoever obstructs, or attempts to obstruct, or in any
way interferes with or prevents the enforcement of this section, shall be liable to the penalties prescribed in
subsection (a). 159. [1B-2g-7j Title 18 U.S.C. Section 3: Whoever, knowing that an offense against the United
States has been committed, receives, relieves, comforts or assists the offender in order to hinder or prevent his
apprehension, trial or punishment, is an accessory after the fact. Except as othen/vise expressly provided by any Act
of Congress, an accessory after the fact shall be imprisoned not more than one~half the maximum term of
imprisonmenth (notwithstanding section 3571) fined not more than one-half the maximum line prescribed for the
punishment of the principal, or both; or if the principal is punishable by life imprisonment or death, the accessory
shall be imprisoned not more than 15 years is this correct and applies to the intent of your actions, yes or
no?
18 U.S.C.S. 645
“Whoever, being a United States marshal, cierk, receiver, referee trustee or other Officer of a United States court,
or any deputy, assistant, or employee of any such officer, retains or converts to his own use or the use of another, or
after demand by the party entitled thereto, unlawfully retains any money coming into his hands by virtue of his official
relation, position or empioyment, is guilty of embezzlement and shail, where the offense is not otherwise punishable
by enactment of Congress, be fined not more than double the value of the money so embezzled or imprisoned not
more than ten years, or both; but if the amount does not exceed $100, he shall be fined not more than $1,000 or
imprisoned not more than one year, or both." is this correct and applies to the intent of your actions, yes or
no?

 

 

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THAT in light of the foregoing claims ali alleged contracts and agreements between this Afliant, ‘robert
joseph intlekofer”, and the lRS, its Principais, or the "United States" are l‘unconscionable, baseless and frivolous
ilings”. l herein, hereby and herewith revoke disavow, and renounce my signature on any and all documents
instruments or forms l may have ever signed with the iRS, its Principais, or the "United States" or any other parties
or entities whatsoever that might purport to have furnished any contractual agreement or nexus between myself and
the iRS, its Principais, or the "United States" is this correct and applies to the intent of your actions, yes or
no?

As a result of the criminal fraud, breach of trust, malfeasance and personage practiced against robert
joseph intlekofer by acting judges with no oath of office illegally press-ganged into the international jurisdiction of
the sea, suffered inland piracy, and unlawful conversion, identity theft, copyright infringement and credit fraud.
Suffered false arrest, armed extortion, racketeering, and eviction under the false presumptions and mis-
characterizations created by your systemic fraud, denied “essential governmental services” under Article lV,
Section 3, Clause 2 of the original equity contract governing our relations with the Federal United States and
who claim automatic cancellation, breech of trust with the miss-administration, malfeasance incompetence and
reckless dishonesty of the banks, their governmental services corporations, and the private corporate officers who
have been impersonating public oficiais in demonstrable Bad Faith. is this correct and applies to the intent of
your actions, yes or no?

This is to inform all that l have been adopted by a sovereign creator and as his son, lost but now found, not
dead at sea but alive and walking and living on the eretz/land, no longer abused, neglected, abandoned or
expioited, l have changed my political status and to correct the civil records maintained by the probate courts to end
ali false presumptions and hostilities being offered against the nephesh chey/living soul by federal employees,
agents subcontractors and secondary creditors---including their bill coilectors, the American Bar Association and
the internal Revenue Service. l am a Priority Creditors, not the banks which are using the various governmental
services corporations as fronts to veil their self-interest in these matters. is this correct and applies to the
intent of your actions, yes or no?

The American Bar Association and the lntemal Ffevenue Service are both owned and operated by
Northern Trust, inc. as private for-prolit, foreign debt collection agencies They are not units of govemment, not
professional associations not even non-profit organizations They are criminal syndicates operating under color of
law and semantic deceit in violation of their corporate charters and the Bar Association Treaty allowing them to be
here; whereupon we have established a formal commercial obligation lien against the American Bar Association
and the international Bar Association and the Department of Justice which again, as it turns out, is nothing but a
private corporation and subcontractor having no public function or office or delegated authority whatsoever.

is this correct and applies to the intent of your actions, yes or no?

"lt shall not be a defense that the accused Person had any interest in the moneys or fund."

"No officer can acquire jurisdiction by deciding he has it. The officer, whether judicial or ministerial, decides
at his own perii." Middleton v. Low (1866), 30 C. 596, citing Prosser v. Secor (1849), 5 Barb.(N.Y) 607, 608.
"The innocent individual who is harmed by an abuse of governmental authority is assured that he will\be
compensated for his injury." Owens v. City of independence 100 S. Ct 1398 (1980).
“Attorneys can’t testify; statements of counsel in brief or in oral argument are not facts before the court`,t” -
Unites States v. Lovable 4 U.S. 783,97 S. 2004, 52 L. Ed. 2d 752 and Gonzales v. Buist 224 U.S. 126. 56 L.. 693.
32. Ct. 463.S.163. “An attorney for the plaintiff cannot admit evidence into the court. He is either an attorney or a
witness” and, “Statements of counsel in brief or in argument are not facts before the court." - Trlnsey v. Pagliaro
D.C. Pa (1964), 229 F. Supp. 647
“All codes, rule and regulations are applicable to the government authorities only, not
human/Creators in accordance with God laws All codes, rules and regulations are unconstitutional and lacking in
due process.” - Fiodriques v Flay Donavan (U.S. Department of Labor, 769 F. 2d 1344, 1348 (1985).
“ Mere good faith assertions of power and authority (jurisdiction) have been abolished” - Owens v. The City
of independence (1980)
"Courts are constituted by authority and they cannot go beyond that power delegated to them. if they act
beyond that authority, and certainly in contravention of it, their judgments or orders are regarded as nullities; they

 

 

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are voidable but simply void, and this even prior to reversal.” -
WlLLlAMSON v. BEFthY, 8 HOW. 945. 540 12 L. Ed. 1170, 1189 (1850).

“Once jurisdiction is challenged, the court cannot proceed when it clearly appears that the court lacks
jurisdiction, the court has no authoritth reach merits, but rather should dismiss the action.” - Me|o v. U.S., 505 F
2d 1026

“There is no discretion to ignore lack of jurisdiction.” - Joyce v. U.S. 474 2D 215.

“The burden shifts to the court to prove jurisdiction.” - Rosemond v. Lambert, 469 F 2d 416170.
Court must prove on the record, all jurisdiction facts related to the jurisdiction asserted.” - Lantana v. Hopper, 102
F. 2d 188; Chicago v. New York 37 F Supp. 150

“The law provides that once State and Federal Jurisdiction has been challenged, it must be proven.” 100 S.
Ct. 2502 (1980)

“Jurisdiction can be challenged at any time.” Basso v. Utah Power & Light Co. 495 F 2d 906, 910.

“Once chailenged, jurisdiction cannot be assumed, it must be proved to exist.” Stuck v. Medical
Examiners 94 Ca 2d 751. 211 P2d 389.

"Jurisdiction, once chailenged, cannot be assumed and must be decided." Maine v. Thiboutot 100
S. Ct. 250.

“The law requires proof of jurisdiction to appear on the record of the administrative agency and
ali administrative proceedings.” Hagans v Lavine 415 U.S. 533.

“Where rights are secured by the Constitution are involved, there can be no rule making or
legislation which would abrogate them.” - Miranda v. Arizona, 384 US 436 at 491.

Corpus Juris Secundum: "The Body of Law" or Legal encyclopedia, Volume 7, Section 4: as quoted:
"Attorney & client: An Attorney's "first" duty is to the Courts (1st) and the public (2nd) and not to the client (3rd), and
wherever the duties to an attorney's client "confiict" with those interests that he/she owes his allegiance to, as an
oficer of the court in the administration of justice the former must yield to the latter."178. "No officer can acquire
jurisdiction by deciding he has it. The officer, whether judicial or ministerial, decides at his own perii." Middleton v.
Low (1866), 30 C. 596, citing Prosser v. Secor (1849), 5 Barb.(N.Y) 607, 608.

" ...lf one individual does not possess such a right over the conduct of another [a corporate presumption
over a living man, when the living man is paramount over ali corporations] no number of individuals [in a deliberative
body] can possess such a right. All combinations therefore to effect such an object, are injurious not only to the
individuals particularly oppressed, but to the public at large". People v. Fisher, 14Wend.(N.Y.) 9, 28 Am.Dec. 501

The U.S. Supreme Court has stated, that, "No state legislator or executive or judicial officer can war against
the Constitution without violating his undertaking to support it." Cooper v. Aaron, 358 U.S. 1, 78 S.Ct. 1401 (1958).

“Any judge who does not comply with his oath to the Constitution of the United States wars against that
Constitution and engages in acts in violation of the Supreme Law of the Land. The judge is engaged in acts of
treason. Having taken at least two, if not three oaths of office to support the Constitution of the United States, and
the Constitution of the State of mind where he lives any judge who has acted in violation of the Constitution is
engaged in an actor acts of treason (see below). if a judge does not fully comply with the Constitution, then
his orders are void," in re Sawyer, 124 U.S. 200 (1888), he/she is without jurisdiction, and he/she has engaged in
an act or acts of treason.

"Whenever a judge acts where he/she does not have jurisdiction to act, the judge is engaged in an actor
acts of treason.” U.S. v. Will, 449 U.S. 200, 216, 101 S.Ct. 471, 66 L.Ed.2d 392, 406 (1980); Cohens v. Virginia, 19
US. (6 Wheat) 264, 404, 5 L.Ed 257 (1821) What is the penalty for treason? Piease reply in particularity &
specificity.

“Any judge or attorney who does not report the above judges for treason as required by law may
themselves be guilty of misprision of treason.” 18 U.S.C. Section 2382.

“lt is where the “court,” or a (crew) member, is corrupted, infiuenced, is attempted, or where the judge has
not performed his judicial function --- thus where the impartial functions of the court have been directly corrupted."

lt is also clear [lN THlS ACT|ON], and well-settled at law that any attempt to commit "fraud upon the
court vitiates the entire proceeding.” The People of the State of illinois v. Fred E. Steriing, 357 l|i. 354; 192 N.E.
229 (1934);165. "The maxim that fraud vitiates every transaction into which it enters applies to
judgments as weil as to contracts and other transactions." Allen F. Moore v. Stanley F. Sievers, 336 lll. 316;
168 N.E. 259 (1929);

"The maxim that fraud vitiates every transaction into which it enters...,“ in re Village of
Willowbrook, 37 lil.App.2d 393 (1962);

"lt is axiomatic that fraud vitiates everything." Dunham v. Dunham, 57 lll.App. 475 (1894), affirmed 162 lli.
589 (1896); Skeily Oil Co. v. Universal Oil Products Co., 338 lll.App. 79, 86 N.E.2d 875, 883-4 (1949); Thomas

 

 

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Stasel v. The Federal law, states; “when any officer of the court
has committed "fraud upon the court," the orders and judgment of [THlS, OR] that court are void, of no legal force or
effect.” all the previous are they correct and applies to the intent of your actions, yes or no?

my sovereign creator of heaven and earth shall proceed to the actions of RELiEF & REMEDY in
this lawful action: to return back to his people the property's and land on day 7

“The innocent individual who is harmed by an abuse of governmental authority is assured that he will
be compensated for his injury." Owens v. City of independence 100 S.Ct 1398 (1980).

Foreign: The term "foreign" when applied to a corporation or partnership means a corporation or
partnership which is not domestic

Foreign service of process: Service of process for the acquisition of jurisdiction by a court in the United
States upon a person in a foreign country is prescribed by Fed Fi. Civ. P. 4 (i) and 28 U.S.C.A. § 1608. Service of
process of, and on, a foreign corporation is governed by Fed. Fi. Civ. P. 4(d) (3).

Profiteering: Taking advantage of unusual or exceptional circumstance to make excessive profit; e.g. selling
of scarce or essential goods at inflated price during time of emergency or war.

Ferson: in general usage a human being (i.e. natural person) though by statute term may include a iirm,
labor organizations partnerships associations corporations,legal representative trustees trustees in bankruptcy,
or receivers Nationai Labor Relations act, §2(1). A corporation is a “person," and “PERSON,” within the meaning
of equal protection and due process provisions of the United States Constitution.

Foreign Court: The courts of a foreign state or nation. in the United States, this term is frequently applied to
the courts of one of the states when their judgment or records are introduced in the courts of another.

Foreign jurisdiction: Any jurisdiction foreign to that of the forum; e.g. a sister state or another country. Also
the exercise by a state or nation jurisdiction beyond its own territory. Long-arm Service of process is a form of such
foreign or extraterritorial jurisdiction.

FtEGlSTRATlON: Recording; inserting in an official register; the act of making a iist, catalog, schedule or
register, particularly of an official character, or of making entries therein.

MAFilTiME LAW: Law governing sea or seaport bound actions conducted and commerce transacted.
Registration, license and inspection procedures for ships and shipping contracts, insurance and carriage of goods
and passengers are inciuded.

SALVAGE LiEN: a maritime lien by a person who has helped in saving a ship, part of a ship and or its
cargo. Maritime law recognizes theses liens to be legitimate

Lien Release: A lien release is when the holder of a iien, or security interest in a piece of property, lifts or
waives the lien, rendering the property free to purchase

SALVAGE VALUE: The residual value of a product when it has reached the end of its productive life but still
has a value if salvaged for recycling or reselling its parts

SALVAGE PROPEFiTY: Property that is no longer valuable as its intended purpose but has value as scrap
or as being resold.
court cases used in this action is only for your understanding of what you are/were required to follow, that validates
my claims all involved in your system for piracy in this actioni

THAT this Commercial Aflidavit, Notice and Warning of Commercial Grace, is the ONE AND ON LY such
Notice and Waming. if all lFtS "assessments" and collection actions against me on their basis are not abated within
thirty (30) days or if at any time in the future any iRS "assessments" and collection actions based thereon are
reinstituted against me it shall be considered a willful disregard for this Notice and Waming. and such shall
engender the immediate filing of Criminal Complaints (Aflidavits of lnformation) and Commercial Liens (Aflidavits of
Obiigation) against all parties invoived. And this addendum shall also be a attachment to S.E.C. Tracer
Number of #2640220 is a “commercial securities tag," and is but a single Exhibit, out of thousands of
the prima facie evidence of the A.B.A.‘s conspiracy to commit sedition, piracy, and commercial fraud,
against the Lien Claimants

PEACE,” SHALL, again without fear, trepidation, hesitation, or waiver, use the
following Rules of law to, also, DlSMlSS, W|TH EXTFlEME PREJUD|CE, ALL ALLEGED CHARGES,
JUDGMENTS, ORDERS, SENTENCES, FlNES, FEES, WR|TS, OR WARRANTS, LEVlED AGA|NST this
nephesh chey (living man) , and he SHALL COMMAND, that this nephesh chey (Naturai Man’s) PUBLlC

 

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RECOFiD BE CLEAFtED & EXPUNGED OF THESE FALSE, FABR|CATED, AND FRAUDULENT “CFilMES”
FROM ALL LlSTS, FiEGlSTEFtiES, AND DATA LOGS, AND FROM WHEREVER! this Naturai Man’s good name
(NAME) has been commercially tamished, obstructed, slandered, libeled, or deliied; Along with the
EXPUNGEMENT of the PUBLlC RECORD, the COUNTY SHERlFF SHALL, without pause or delay, return this
Naturai Man’s “Mugshots,” and his “Fingerprints,” as these are “Private Property,” which were STOLEN by war,
booty, and/or military prize and l can now do the same as a sons or daughters of a sovereign creator!

ATTESTMENT OF OATH & AFFlFiMATlON:

As Granted, as Beneficiary, “Holder-in-due-course along with my creator,” “Witness,” an “injured living
man,” and as “speciai and private” an “unincorporable, non-military, non- bankrupt, and non-combatant non -
decedent nephesh chey (man & woman) on the Land,” and NOT born of, or inhabiting the Sea, along with my
“autograph” below, is my Oath, my Affirmation, my Bond, my Honor, to expose & present the Truth, the whole
Truth, and NOTHlNG but the Truth, so help me thhi

As‘ ‘unincorporabie non- c-o,mbafant and non-bankrupt man & woman of the Land,” NO CORPORA°l’E
SlGNATUFiE OR SEAL' is, then, necessary, or REQU|RED, under Universal & Naturai Law.

All Flights & Protections Reserved g § f
rodgjoésé%|ekofer an frisk disabled senior

 

family crest

(roman Date:[Z_/_ZZ/2015) “my creators day 7”

Authorized Agent/Petitioner/Court Administrator/Beneficiary of Trust

THESE NOT|CES, DEMANDS, AND “SALVAGE LlENS,” ARE VALiD & EXECUTABLE TENDEFl lN, CR ON,
ANY FORE|GN COURT OF LAW, De’Facto, or De’jure, by ANY one Naturai Man, or Woman, Living on the Land,
and it is the Civic Duty of the COUNTY SHEFtlFF, his Deputies, or members of the Militia, the COUNTY CLERK,
and/ or ALL PUBLlC TRUSTEES, to ACCEPT, ENDORSE, SERVlCE, and to EXECUTE, WlTHOUT DELA¥, OFt
OBSTRUCT|ON, these NOT|CES, WFilTS, DEMANDS & RIGHTS OF SALVAGE! ........ and, Without Exception, or
Sanctioni .............. PERlODi!

NOT|CE TO FORE|GN AGENT lS NOT|CE TO FOREiGN PR|NC|PLE! NOT|CE TO FOFiElGN PRiNClPAL lS
NOT|CE TO FORE|GN AGENT!

Having exhausted his DEMANDS, OFiDEFiS, PETlTlONS, with the Private, Foreign, De’Facto Courts, Petitioner,
“never was and or no longer bound by the fraud of your court”, may, at his own discretion, provide service to
whom he will, in Pubiic & Private venues, without having to NGTICE the De’Facto Courts, “yet l shall keep the
honor of my creator thh."

Chair, Committee on Codes of Conduct, c/o General Counsel Administrative Office of the United States Courts

Thurgood Marshail Federal Judiciary Building One Columbus Circie, N.E. Washington, D.C. 20544
202-502-1 100

Archbishop Arghbisngp §amjjel ,l. Aggila 303-715-3129
Moderator of the Curia Very. Rev. Randy Doiiins, V.G. 303-715-3263

Very Rev. Giovanni Capucci, J.C.D. Metropolitan Tribunai and Office of Canonical Affairs 1300 South
Steeie Street Denver, CO 80210, 303-894-8994 gribu ng.gffig@arghden.grg

QO/’?

 

